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ATTORNEYS FOR THE DEBTORS
AND DEBTORS IN POSSESSION

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

In re:                                                    §          CASE NO. 14-32821-11
                                                          §
SEARS METHODIST RETIREMENT                                §          CHAPTER 11
SYSTEM, INC., et al.1                                     §
                                                          §          Jointly Administered
                           Debtors.                       §

                      PLAN DEBTORS’ MOTION FOR ENTRY OF AN ORDER
                            (I) APPROVING DISCLOSURE STATEMENT,
                  (II) ESTABLISHING PROCEDURES FOR THE SOLICITATION
                  AND TABULATION OF VOTES TO ACCEPT OR REJECT THE
                                PLAN DEBTORS’ CHAPTER 11 PLAN,
                         (III) SCHEDULING A CONFIRMATION HEARING,
                     AND (IV) APPROVING RELATED NOTICE PROCEDURES

         Sears Methodist Retirement System, Inc., Sears Caprock Retirement Corporation, Sears

Methodist Centers, Inc., Sears Methodist Foundation, Sears Panhandle Retirement Corporation,

Sears Permian Retirement Corporation, Sears Plains Retirement Corporation, Sears Tyler

Methodist Retirement Corporation, and Senior Dimensions, Inc. (collectively, the “Plan Debtors”



1
    The debtors in these chapter 11 cases, along with the last four (4) digits of their taxpayer identification numbers,
    are: Sears Methodist Retirement System, Inc. (6330), Canyons Senior Living, L.P. (8545), Odessa Methodist
    Housing, Inc. (9569), Sears Brazos Retirement Corporation (8053), Sears Caprock Retirement Corporation
    (9581), Sears Methodist Centers, Inc. (4917), Sears Methodist Foundation (2545), Sears Panhandle Retirement
    Corporation (3233), Sears Permian Retirement Corporation (7608), Sears Plains Retirement Corporation (8233),
    Sears Tyler Methodist Retirement Corporation (0571) and Senior Dimensions, Inc. (4016). The mailing address
    of each of the debtors, solely for purposes of notices and communications, is 2100 Ross Avenue, 21st Floor, c/o
    Paul Rundell, Dallas, Texas 75201.



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and, together with the remaining debtors and debtors in possession in the above-captioned cases,

the “Debtors”), by their undersigned counsel, hereby file this motion (the “Motion”), pursuant to

sections 105(a), 1125, 1126, and 1128 of title 11 of the United States Code (the “Bankruptcy

Code”), Rules 2002, 3016, 3017, 3018, and 3020 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), and Rules 2002-1, 3017-1, 3018-1, and 3020-1 of the Local

Bankruptcy Rules of the United States Bankruptcy Court for the Northern District of Texas (the

“Local Rules”) for entry of an order, substantially in the form attached hereto as Exhibit A,

(i) approving the Disclosure Statement, dated December 6, 2014 (as amended, modified, or

supplemented from time to time, the “Disclosure Statement”), with respect to the Plan Debtors’

Joint Plan of Reorganization Pursuant to Chapter 11 of the Bankruptcy Code, dated December

6, 2014 (as amended, modified, or supplemented from time to time, the “Plan”); (ii) establishing

procedures for the solicitation and tabulation of votes to accept or reject the Plan (collectively,

the “Solicitation Procedures”), including approval of (a) the form of ballots for submitting votes

on the Plan, (b) the deadline for submission of such ballots, (c) the contents of the proposed

solicitation packages to be distributed in connection with the solicitation of votes on the Plan,

(d) the proposed record date for Plan voting, (e) procedures for tabulating votes with respect to

the Plan, and (f) certain related relief; (iii) scheduling a hearing on confirmation of the Plan (the

“Confirmation Hearing”); and (iv) approving certain related notice procedures (the

“Confirmation Procedures”).2 In support of this Motion, the Plan Debtors respectfully represent

as follows:




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    Capitalized terms used but not defined herein shall be given the meanings ascribed to them in the Plan.


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                                     PRELIMINARY STATEMENT

        By this Motion, and as described in detail below, the Plan Debtors seek Court approval of

various substantive and procedural matters central to the chapter 11 plan confirmation process

and the resolution of certain of these chapter 11 cases. As a threshold matter, the Plan Debtors

seek approval of the Disclosure Statement as providing “adequate information” within the

meaning of section 1125(a) of the Bankruptcy Code.                       The Plan Debtors submit that the

information contained in the Disclosure Statement satisfies the standard for approval set forth in

the Bankruptcy Code.

        Contingent upon approval of the Disclosure Statement, the Plan Debtors further seek

approval of two discrete sets of procedures, each designed to implement and streamline the Plan

confirmation process.        Specifically, the Plan Debtors seek approval of (a) the Solicitation

Procedures establishing rules and deadlines governing the solicitation and tabulation of votes on

the Plan, including the form of ballots and other solicitation documents, and (b) the Confirmation

Procedures scheduling the Confirmation Hearing, providing for adequate notice thereof and

creating a framework for the filing and service of any objections to Plan confirmation (and any

responses thereto). The Plan Debtors submit that each of these procedures (described in detail

herein) is necessary and reasonable and complies fully with the requirements of the Bankruptcy

Code, the Bankruptcy Rules, and Local Rules and, therefore, should be approved.

        For the convenience of the Court and all parties in interest, the following is a summary

timeline identifying each of the relevant dates and deadlines proposed by this Motion:3

                  (a)     December 8, 2014: Record date for determination of claim or interest
                          holder status (the “Record Date”);

                  (b)     [TBD]: Hearing on this Motion;

3
    All such dates and deadlines are subject to the Court’s calendar and are therefore subject to change.


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                  (c)    3 business days after entry of order approving this Motion: Deadline for
                         serving solicitation packages;

                  (d)    3 business days after entry of order approving this Motion: Deadline for
                         newspaper publication;

                  (e)    [TBD]: Deadline for filing objections to Plan confirmation;

                  (f)    [TBD]: Deadline for voting on Plan;

                  (g)    [TBD]: Deadline for Plan Debtors to reply to any objections to Plan
                         confirmation;

                  (h)    3 days prior to Confirmation Hearing:       Deadline for submission of
                         tabulation report; and

                  (i)    [TBD]: Confirmation Hearing.

                                         JURISDICTION

        1.        The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue

is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory bases for the relief sought

herein are sections 105(a), 1125, 1126, and 1128 of the Bankruptcy Code, Bankruptcy Rules

2002, 3016, 3017, 3018, and 3020, and Local Rules 2002-1, 3017-1, 3018-1, and 3020-1.

                                         BACKGROUND

I.      The Debtors’ Bankruptcy Filing.

        2.        On June 10, 2014 (the “Petition Date”), the Debtors commenced these cases by

filing voluntary petitions for relief under chapter 11 of the Bankruptcy Code.

        3.        The Debtors remain in possession of their assets and continue to operate and

manage their businesses as debtors in possession pursuant to Bankruptcy Code sections 1107(a)

and 1108.

        4.        On June 19, 2014, the Office of the United States Trustee appointed an official

committee of unsecured creditors (the “Committee”) pursuant to section 1102(a)(1) of the


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Bankruptcy Code. No trustee or examiner has been appointed.

        5.        Additional factual background regarding each of the Debtors, including their

current and historical business operations and the events precipitating these chapter 11 filings, is

set forth in detail in the Declaration of Paul B. Rundell in Support of First Day Motions [Docket

No. 3], incorporated herein by reference.

II.     The Plan.

        6.        Since the commencement of these chapter 11 cases, the Plan Debtors and their

professionals have been actively considering and pursuing potential strategic transactions and/or

standalone restructuring alternatives in an effort to achieve the best possible result for their

stakeholders. To this end, on July 17, 2014, the Plan Debtors retained RBC Capital Markets,

LLC (“RBC”) to, among other things, solicit offers for a sale of all or substantially all of the Plan

Debtors’ assets, an affiliation transaction, or a restructuring of all or a portion of the Plan

Debtors’ indebtedness. After consultation with the Plan Debtors’ professionals to identify the

most likely candidates to purchase the Plan Debtors’ assets and/or to affiliate with the Plan

Debtors, RBC began contacting potential buyers and partners. To date, RBC has contacted over

500 parties, including strategic for-profit and not-for-profit investors, real estate and private

equity investors, and real estate investment trusts. Of those contacted, over seventy (70) signed

confidentiality agreements and received additional information from RBC regarding the Plan

Debtors’ businesses and assets.

        7.        In September 2014, the Plan Debtors explored the possibility of a stand-alone

restructuring or an affiliation with another not-for-profit entity.     When these options were

determined not to be viable, the Plan Debtors embarked upon a process of selling their assets to

qualified operators who continue to operate the Plan Debtors’ facilities without interruption of



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service to the residents and patients at those facilities. As described in more detail in the Plan,

certain Plan Debtors have entered into asset purchase and sale agreements pursuant to which

they have agreed to sell substantially all of the their assets, including those assets related to the

following facilities: Parks, Wesley Court, Craig, Meadow Lake, and Mesa Springs. The asset

purchase and sale agreements further provide that all residency agreements at the foregoing

facilities will be assumed and assigned to the respective buyers and all obligations thereunder

will be honored.

        8.        In order to ensure that maximum value is received for their businesses and assets,

the Plan Debtors have conducted or are currently in the process of conducting an open-market

bidding process in which qualified bidders can submit higher or otherwise better offers on all or

a portion of the Plan Debtors’ assets. At the conclusion of the bidding process, the Plan Debtors

will seek Bankruptcy Court approval to close on the sales with the parties submitting the highest

or best offers for the Plan Debtors’ businesses and assets.

        9.        As described in more detail in the Plan, the Plan contemplates that (a) the net sale

proceeds of the sales, (b) certain assets excluded from the sales, (c) various claims and causes of

action belonging to the Plan Debtors and their estates, and (d) all other unencumbered assets of

the Plan Debtors (collectively, the “Liquidating Trust Assets”) will be transferred to a liquidating

trust for the benefit of the Plan Debtors’ unsecured creditors. The liquidating trust is to be

managed by a Liquidating Trustee who will be responsible for liquidating the Liquidating Trust

Assets and making distributions to holders of allowed claims as well as all other administrative

tasks necessary for the ultimate resolution of these chapter 11 cases.

        10.       The Plan contemplates classifying all claims against and interests in the Plan

Debtors, other than Administrative Expense Claims, Compensation and Reimbursement Claims,



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Priority Tax Claims, or DIP Claims, as follows:

                   Sears Methodist Retirement System, Inc.

       Class          Claims & Interest           Status          Treatment           Entitled to Vote
                                                                                             No
          1          Other Priority Claims      Unimpaired         Paid in Full
                                                                                      (deemed to accept)
                                                                                             No
          2           Secured Tax Claims        Unimpaired         Paid in Full
                                                                                      (deemed to accept)
                                                              Pro Rata Share of Net
                                                                Sale Proceeds from
                                                              Obligated Group Sale
          3       Obligated Group Bond Claims    Impaired                                    Yes
                                                               and Obligated Group
                                                              Encumbered Excluded
                                                                      Assets
                                                              Proceeds from sale of
          4          Other Secured Claims        Impaired                                    Yes
                                                                     Collateral
                                                                 Pro Rata Share of
          5            Deficiency Claims         Impaired        Liquidating Trust           Yes
                                                                Distributable Cash
                                                                 Pro Rata Share of
          6        General Unsecured Claims      Impaired        Liquidating Trust           Yes
                                                                Distributable Cash


                   Sears Panhandle Retirement Corporation.

       Class          Claims & Interest          Status           Treatment           Entitled to Vote
                                                                                             No
          1           Other Priority Claims     Unimpaired         Paid in Full
                                                                                      (deemed to accept)
                                                                                             No
          2           Secured Tax Claims        Unimpaired         Paid in Full
                                                                                      (deemed to accept)
                                                           Pro Rata Share of Net
                                                             Sale Proceeds from
                                                           Obligated Group Sale
          3       Obligated Group Bond Claims    Impaired                                    Yes
                                                            and Obligated Group
                                                           Encumbered Excluded
                                                                   Assets
                                                           Assigned to Obligated
                        Entrance Deposit                                                     No
          4                                     Unimpaired    Group Successful
                         Refund Claims                                                (deemed to accept)
                                                                   Bidder
                                                              Pro Rata Share of
          5            Deficiency Claims         Impaired     Liquidating Trust              Yes
                                                             Distributable Cash
                                                              Pro Rata Share of
          6        General Unsecured Claims      Impaired     Liquidating Trust              Yes
                                                             Distributable Cash
                                                                                            No
          7          Interests in Panhandle      Impaired        No Distribution
                                                                                      (deemed to reject)




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                   Sears Permian Retirement Corporation.

       Class          Claims & Interest              Status          Treatment        Entitled to Vote
                                                                                             No
          1          Other Priority Claims         Unimpaired         Paid in Full
                                                                                      (deemed to accept)
                                                                                             No
          2           Secured Tax Claims           Unimpaired         Paid in Full
                                                                                      (deemed to accept)
                                                              Pro Rata Share of Net
                                                                Sale Proceeds from
                                                              Obligated Group Sale
          3       Obligated Group Bond Claims       Impaired                                 Yes
                                                               and Obligated Group
                                                              Encumbered Excluded
                                                                      Assets
                                                              Assigned to Obligated
                       Entrance Deposit                                                      No
          4                                        Unimpaired    Group Successful
                        Refund Claims                                                 (deemed to accept)
                                                                      Bidder
                                                                 Pro Rata Share of
          5            Deficiency Claims            Impaired     Liquidating Trust           Yes
                                                                Distributable Cash
                                                                 Pro Rata Share of
          6        General Unsecured Claims         Impaired     Liquidating Trust           Yes
                                                                Distributable Cash
                                                                                            No
          7           Interests in Permian          Impaired       No Distribution
                                                                                      (deemed to reject)

                   Sears Methodist Centers, Inc.

       Class      Claims & Interest           Status             Treatment            Entitled to Vote
                                                                                             No
         1        Other Priority Claims      Unimpaired           Paid in Full
                                                                                      (deemed to accept)
                                                                                             No
         2         Secured Tax Claims        Unimpaired           Paid in Full
                                                                                      (deemed to accept)
                                                   Pro Rata Share of Net Sale
                                                         Proceeds from
                Obligated Group Bond
         3                              Impaired    Obligated Group Sale and                 Yes
                        Claims
                                                  Obligated Group Encumbered
                                                        Excluded Assets
                   Entrance Deposit                  Assigned to Obligated                  No
         4                             Unimpaired
                    Refund Claims                   Group Successful Bidder           (deemed to accept)
                                                  Pro Rata Share of Liquidating
         5        Deficiency Claims     Impaired                                             Yes
                                                    Trust Distributable Cash
                                                  Pro Rata Share of Liquidating
         6     General Unsecured Claims Impaired                                             Yes
                                                    Trust Distributable Cash
                                                                                            No
         7          Interests in SMC          Impaired          No Distribution
                                                                                      (deemed to reject)




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                   Sears Methodist Foundation.

      Class       Claims & Interest         Status              Treatment               Entitled to Vote
                                                                                               No
         1        Other Priority Claims    Unimpaired           Paid in Full
                                                                                        (deemed to accept)
                                                                                               No
         2         Secured Tax Claims      Unimpaired           Paid in Full
                                                                                        (deemed to accept)
                                                         Pro Rata Share of Net Sale
                                                               Proceeds from
                  Obligated Group Bond
         3                                  Impaired      Obligated Group Sale and             Yes
                         Claims
                                                        Obligated Group Encumbered
                                                              Excluded Assets
                                                        Pro Rata Share of Liquidating
         4         Deficiency Claims        Impaired                                           Yes
                                                          Trust Distributable Cash
                                                        Pro Rata Share of Liquidating
         5     General Unsecured Claims     Impaired                                           Yes
                                                          Trust Distributable Cash
                                                                                              No
         6          Interests in SMF        Impaired          No Distribution
                                                                                        (deemed to reject)


                   Sears Tyler Methodist Retirement Corporation.

       Class       Claims & Interest         Status             Treatment               Entitled to Vote
                                                                                               No
         1         Other Priority Claims   Unimpaired            Paid in Full
                                                                                        (deemed to accept)
                                                                                               No
         2         Secured Tax Claims      Unimpaired            Paid in Full
                                                                                        (deemed to accept)
                                                   Pro Rata Share of Net Sale
                                                  Proceeds from Tyler Sale and
         3        Tyler Bond Claims     Impaired                                               Yes
                                                  Tyler Encumbered Excluded
                                                             Assets
                                                  Assigned to Tyler Successful                 No
         4       Other Secured Claims  Unimpaired
                                                             Bidder                     (deemed to accept)
                   Entrance Deposit               Assigned to Tyler Successful                 No
         5                             Unimpaired
                    Refund Claims                            Bidder                     (deemed to accept)
                                                  Pro Rata Share of Liquidating
         6        Deficiency Claims     Impaired                                               Yes
                                                    Trust Distributable Cash
                                                  Pro Rata Share of Liquidating
         7     General Unsecured Claims Impaired                                               Yes
                                                    Trust Distributable Cash
                                                                                              No
         8           Interests in Tyler     Impaired           No Distribution
                                                                                        (deemed to reject)




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                    Sears Caprock Retirement Corporation.

        Class      Claims & Interest          Status             Treatment               Entitled to Vote
                                                                                                No
          1        Other Priority Claims    Unimpaired            Paid in Full
                                                                                         (deemed to accept)
                                                                                                No
          2         Secured Tax Claims      Unimpaired            Paid in Full
                                                                                         (deemed to accept)
                                                           Net Sale Proceeds
                   Caprock Secured Loan                 from Caprock Sale and
          3                               Impaired                                       Yes
                          Claim                     Caprock Encumbered Excluded
                                                                Assets
                    Entrance Deposit                    Assigned to Successful            No
          4                              Unimpaired
                     Refund Claims                          Caprock Bidder         (deemed to accept)
                                                     Pro Rata Share of Liquidating
          5        Deficiency Claims      Impaired                                       Yes
                                                       Trust Distributable Cash
                                                     Pro Rata Share of Liquidating
          6     General Unsecured Claims Impaired                                        Yes
                                                       Trust Distributable Cash
                                                                                          No
          7       Interests in Caprock    Impaired          No Distribution
                                                                                   (deemed to reject)


                    Sears Plains Retirement Corporation.

        Class      Claims & Interest          Status             Treatment               Entitled to Vote
                                                                                                No
          1        Other Priority Claims    Unimpaired            Paid in Full
                                                                                         (deemed to accept)
                                                                                                No
          2         Secured Tax Claims      Unimpaired            Paid in Full
                                                                                         (deemed to accept)
                                                              Net Sale Proceeds
          3     Plains Secured Loan Claim    Impaired     From Plains Sale and Plains           Yes
                                                         Encumbered Excluded Assets
                                                         Pro Rata Share of Liquidating
          4         Deficiency Claims        Impaired                                           Yes
                                                           Trust Distributable Cash
                                                         Pro Rata Share of Liquidating
          5     General Unsecured Claims     Impaired                                           Yes
                                                           Trust Distributable Cash
                                                                                               No
          6          Interests in Plains     Impaired           No Distribution
                                                                                         (deemed to reject)


                    Senior Dimensions, Inc.

        Class      Claims & Interest         Status              Treatment               Entitled to Vote
                                                                                                No
          1        Other Priority Claims    Unimpaired           Paid in Full
                                                                                         (deemed to accept)
                                                                                                No
          2        Secured Tax Claims       Unimpaired           Paid in Full
                                                                                         (deemed to accept)
                                                                                                No
          3        Other Secured Claims     Unimpaired    Assigned to New Operator
                                                                                         (deemed to accept)
                                                         Pro Rata Share of Liquidating
          4     General Unsecured Claims     Impaired                                           Yes
                                                           Trust Distributable Cash
                                                                                               No
          5           Interests in SDI       Impaired          No Distribution
                                                                                         (deemed to reject)




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         11.       Based on the foregoing, the Debtors are proposing to solicit votes only from

 holders of claims in those classes listed above as being entitled to vote. Holders of claims in

 other classes are either (a) unimpaired under the Plan and, therefore, will be conclusively

 presumed to have accepted the Plan (see 11 U.S.C. § 1126(f)), or (b) not receiving any

 distribution under the Plan and, therefore, will be deemed to have rejected the Plan (see 11

 U.S.C. § 1126(g)).

                                       RELIEF REQUESTED

         12.       By this Motion, the Plan Debtors respectfully request the entry of an order,

 pursuant to sections 105(a), 1125, 1126, and 1128 of the Bankruptcy Code, Bankruptcy Rules

 2002, 3016, 3017, 3018, and 3020, and Local Rules 2002-1, 3017-1, 3018-1, and 3020-1,

 (a) approving the Disclosure Statement, (b) approving and establishing the Solicitation

 Procedures, (c) scheduling the Confirmation Hearing, and (d) approving and establishing the

 Confirmation Procedures.

 I.      Approval of the Disclosure Statement.

         13.       Pursuant to section 1125(b) of the Bankruptcy Code, a plan proponent must

 provide holders of impaired claims and interests entitled to vote with “adequate information”

 regarding the proposed chapter 11 plan. See 11 U.S.C. § 1125(b). The Plan Debtors respectfully

 submit that the Disclosure Statement contains “adequate information” within the meaning of

 section 1125(a)(1) of the Bankruptcy Code and, thus, should be approved by this Court.

         14.       Section 1125(a)(1) defines “adequate information” as “information of a kind, and

 in sufficient detail, as far as is reasonably practicable in light of the nature and history of the

 debtor and the condition of the debtor’s books and records, . . . that would enable




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 [a] hypothetical investor of the relevant class to make an informed judgment about the plan . . . .”

 11 U.S.C. § 1125(a)(1).

         15.       A debtor’s disclosure statement must, as a whole, provide information that is

 “reasonably practicable” to permit an “informed judgment” by creditors and interest holders

 entitled to vote on that debtor’s plan of reorganization. See In re Ionosphere Clubs, Inc., 179

 B.R. 24, 29 (S.D.N.Y. 1995); In re Unichem Corp., 72 B.R. 95, 97 (Bankr. N.D. Ill. 1987) (“The

 primary purpose of a disclosure statement is to provide all material information which creditors

 and equity security holders affected by the plan need in order to make an intelligent decision

 whether to vote for or against the plan.”); In re BSL Operating Corp., 57 B.R. 945, 950 (Bankr.

 S.D.N.Y. 1986) (“A disclosure statement . . . is evaluated only in terms of whether it provides

 sufficient information to permit enlightened voting by holders of claims or interests.”).

         16.       The Court has broad discretion in determining whether a disclosure statement

 contains adequate information. See Mabey v. Sw. Elec. Power Co. (In re Cajun Elec. Power

 Coop.), 150 F.3d 503, 518 (5th Cir. 1998) (“[I]n determining what constitutes ‘adequate

 information’ with respect to a particular disclosure statement, ‘both the kind and form of

 information are left essentially to the judicial discretion of the court . . . the information required

 will necessarily be governed by the circumstances of the case.’”) (quoting S. REP. NO. 95- 989, at

 121 (1978)), cert. denied, 119 S. Ct. 2019 (1999); Unichem, 72 B.R. at 97 (“Determination of the

 adequacy of a disclosure statement, and therefore, approval of it, is within the sound discretion of

 the bankruptcy court and is to be determined on a case by case basis.”).

         17.       Accordingly, the determination of the adequacy of information in a disclosure

 statement must be made on a case-by-case basis, focusing on the unique facts and circumstances




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 of the relevant case. In that regard, courts generally examine whether a disclosure statement

 contains, if applicable, the following types of information:

                   (a)   the circumstances that gave rise to the filing of the bankruptcy petition;
                   (b)   a description of the available assets and their value;
                   (c)   the anticipated future of the debtor;
                   (d)   the sources of information provided in the disclosure statement;
                   (e)   the condition and performance of the debtor while in chapter 11;
                   (f)   information regarding claims against the estate;
                   (g)   a liquidation analysis setting forth the estimated return that creditors
                         would receive if the debtor’s bankruptcy case were a case under chapter 7
                         of the Bankruptcy Code;
                   (h)   the accounting and valuation methods used to produce the financial
                         information in the disclosure statement;
                   (i)   information regarding the future management of the debtor, including the
                         amount of compensation to be paid to any insiders, directors or officers of
                         the debtor;
                   (j)   a summary of the chapter 11 plan;
                   (k)   an estimate of all administrative expenses, including attorneys’ fees and
                         accountants’ fees;
                   (l)   financial information that would be relevant to creditors’ determinations
                         of whether to accept or reject the plan;
                   (m)   information relevant to the risks being taken by the creditors and interest
                         holders;
                   (n)   the tax consequences of the plan; and
                   (o)   the relationship of the debtor with its affiliates.

 See, e.g., In re Scioto Valley Mortg. Co., 88 B.R. 168, 170–71 (Bankr. S.D. Ohio 1988); In re

 Copy Crafters Quickprint, Inc., 92 B.R. 973, 980 (Bankr. N.D.N.Y. 1988) (adequacy of

 disclosure statement evaluated in light of the factors set forth in Scioto Valley Mortg.). This list

 is not meant to be exclusive, nor must a debtor include in its disclosure statement all of the

 information on the list. Rather, the court must decide what information is appropriate in each




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 case. See In re Phoenix Petroleum Co., 278 B.R. 385, 393 (Bankr. E.D. Pa. 2001) (making use

 of similar list but cautioning that “no one list of categories will apply in every case”).

         18.       The Disclosure Statement contains ample information with respect to the topics

 identified above, including descriptions and summaries of, among other things (a) the terms of

 the Plan, (b) various events preceding the commencement of these chapter 11 cases, (c) the

 contemplated sale of the assets of various of the Plan Debtors, (d) the nature of known claims

 against each of the Plan Debtors’ estates, (e) risk factors affecting the Plan, (f) financial

 information that would be relevant to creditors’ determinations of whether to accept or reject the

 Plan, (g) various tax consequences of the Plan, and (h) information relevant to the risks being

 taken by creditors and interest holders. Thus, the Disclosure Statement submitted in these

 chapter 11 cases provide an extensive and comprehensive overview of the Plan and its

 ramifications sufficient to constitute adequate information within the meaning of section 1125 of

 the Bankruptcy Code.

         19.       The Disclosure Statement also (a) provides a narrative summarizing the nature of

 the Plan, (b) identifies each class of creditors, the composition of each class, the amount of

 claims, the proposed recovery of each class and the timing thereof, and all sources and amounts

 of funding thereof, and (c) provides a hypothetical liquidation analysis under chapter 7.

 Accordingly, the Plan Debtors submit that the Disclosure Statement contains “adequate

 information” and should be approved.

         20.       The Plan Debtors will continue to review the Disclosure Statement, and, based

 upon their ongoing review and further developments in these chapter 11 cases, may make

 additional changes and/or disclosures prior to the Disclosure Statement hearing. Any additional




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 disclosure will increase the amount of information being provided to holders of claims, and will

 consequently enhance the adequacy of information in the Disclosure Statement.

 II.     Approval of Solicitation Procedures.

         A.        Establishment of Voting Record Date.

         21.       Bankruptcy Rule 3017(d) provides that, for the purposes of soliciting votes in

 connection with the confirmation of a plan, “creditors and equity security holders shall include

 holders of stock, bonds, debentures, notes, and other securities of record on the date the order

 approving the disclosure statement is entered or another date fixed by the court, for cause, after

 notice and a hearing.” FED. R. BANKR. P. 3017(d). Bankruptcy Rule 3018(a) contains a similar

 provision regarding determination of the record date for voting purposes.

         22.       Accordingly, the Plan Debtors request that this Court establish December 8, 2014,

 as the Record Date for purposes of determining which creditors are entitled to vote on the Plan

 and which non-voting creditors and interest holders are entitled to receive a Non-Voting Notice

 (as defined herein).

         B.        Approving Solicitation Package.

         23.       Bankruptcy Rule 3017(d) sets forth the materials that must be provided to holders

 of claims and equity interests entitled to vote for the purpose of soliciting their votes and

 providing adequate notice of the confirmation hearing.

         24.       Except as provided below, upon approval of the Disclosure Statement, the Plan

 Debtors propose that the following materials (collectively, the “Solicitation Package”) be

 distributed by or on behalf of the Plan Debtors to each record and beneficial holder of a claim

 and/or interest entitled to vote on the Plan:

                   a.     a cover letter describing the contents of the Solicitation Package;



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                   b.      the Disclosure Statement, together with all exhibits thereto (which exhibits

                           include the Plan);4

                   c.      the Confirmation Hearing Notice (as defined below);

                   d.      an appropriate ballot, including voting instructions; and

                   e.      such other materials as the Court may direct.

         25.       The Plan Debtors expect that they will be able to commence distribution of the

 Solicitation Packages no later than three business days after the date on which the order

 approving this Motion is entered (the “Solicitation Commencement Date”).5

         C.        Notices of Non-Voting Status.

         26.       For those classes of claims that are unimpaired and deemed to accept the Plan or

 impaired and deemed to reject the Plan and, thus, not entitled to vote to accept or reject the Plan,

 the Plan Debtors propose to distribute to each member of such class the notice of non-voting

 status (the “Non-Voting Notice”) attached as Exhibit 1 to the proposed order. The Non-Voting

 Notice informs such members of the status of their claims (i.e., unimpaired or impaired) and

 contains, among other things, (a) information regarding the Confirmation Hearing, (b) the

 deadline for objecting to the Plan, and (c) instructions on how to obtain a copy of the Plan and

 Disclosure Statement.

         D.        Approval of Form of Ballots.

         27.       Bankruptcy Rule 3017(d) requires that a debtor mail a form of ballot to “creditors

 and equity security holders entitled to vote on the plan.” FED. R. BANKR. P. 3017(d). The Plan


 4
     The Plan Debtors, in their discretion, may distribute either hard copies of the Disclosure Statement or a CD-
     Rom containing the Disclosure Statement.
 5
     In accordance with customary public security solicitation procedures, the Master Ballots shall be distributed to
     Voting Nominees approximately seven (7) calendar days after the initial distribution of the Solicitation
     Packages containing Beneficial Holder Ballots to the Voting Nominees.


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 Debtors propose to distribute to creditors entitled to vote on the Plan one or more ballots,

 substantially in the forms attached as Exhibit 2 to the proposed order. The forms for these

 ballots are based on Official Form No. 14, but have been modified to address the particular

 aspects of this chapter 11 case, and to include certain additional information that the Plan

 Debtors believe to be relevant and appropriate to each class of claims that is entitled to vote to

 accept or reject the Plan.

         E.        Procedures For Soliciting Securities.

         28.       With respect to the Solicitation Packages that will be sent to holders of the Plan

 Debtors’ debt securities (the “Bonds”) entitled to vote on the Plan—Obligated Group Bond

 Claims and Tyler Bond Claims—the Plan Debtors propose to deliver Solicitation Packages to the

 record holders of such Bonds, including, without limitation, representatives such as brokers,

 banks, commercial banks, transfer agents, trust companies, dealers, other agents or nominees, or

 their mailing agents (collectively, the “Voting Nominees”). To aid this process, the Indenture

 Trustee(s) are required to request on behalf of the Plan Debtors the security position listings for

 the applicable Bonds as of the Record Date from The Depository Trust Company (“DTC”)

 and/or other relevant depositories, as applicable. The Plan Debtors shall provide a draft letter,

 and the Indenture Trustee(s) shall furnish the completed letter to DTC and/or other relevant

 depositories, as applicable, within two (2) business days of receipt of such request, with a copy

 to the Debtors and a copy to the Voting Agent (as defined below), as directed in the request. The

 Plan Debtors shall retain responsibility for making any payments to DTC and/or other relevant

 depositories, as applicable, that may be required in connection with the request.

         29.       Each Voting Nominee will receive reasonably sufficient numbers of Solicitation

 Packages, including sufficient beneficial Ballots (the “Beneficial Holder Ballots”) (which shall



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 be in substantially the forms attached hereto as Exhibit 2), to distribute to the beneficial holders

 of the Claims (the “Beneficial Holder”) for whom such Voting Nominee acts. In addition, upon

 written request, the applicable Plan Debtor shall reimburse each Voting Nominee’s reasonable,

 actual, and necessary out-of-pocket expenses associated with the distribution of the Solicitation

 Packages to the Beneficial Holders of such Claims, the tabulation of the Beneficial Holder

 Ballots, and the completion of Master Ballots (as defined below).

         30.       Each Voting Nominee through which one or more Beneficial Holders holds the

 Bonds as of the Record Date must distribute a Solicitation Package to the Beneficial Holder for

 which they hold the Bonds within five (5) business days after receipt of such Solicitation

 Package from the Plan Debtors and obtain the vote of such Beneficial Holders consistent with

 customary practices for obtaining the votes of securities held in “street name,” in one of the

 following two ways:

                   a.     Master Ballots: A Voting Nominee may obtain the votes of Beneficial
                          Holders by forwarding to the Beneficial Holders the applicable unsigned
                          Beneficial Holder Ballot, together with the Solicitation Package, a return
                          envelope provided by, and addressed to, the Voting Nominee, and other
                          materials requested to be forwarded. Each such Beneficial Holder may
                          then indicate his/her or its vote on the Beneficial Holder Ballot, complete
                          the information requested in the Beneficial Holder Ballot, review the
                          certifications contained in the Beneficial Holder Ballot, execute the
                          Beneficial Holder Ballot, and return the Beneficial Holder Ballot to the
                          Voting Nominee. After collecting the Ballots, the Voting Nominee shall,
                          in turn, complete the applicable Master Ballot (the “Master Ballot”)
                          provided to such Voting Nominee by the Plan Debtors in substantially the
                          forms attached hereto as Exhibit 2 compiling the votes and other
                          information from the Beneficial Holder Ballot, execute the Master Ballot,
                          and deliver the Master Ballot to the Voting Agent so that it is received by
                          the Voting Agent before the Voting Deadline. All Beneficial Holder
                          Ballots returned by Beneficial Holders should be retained by Voting
                          Nominees for inspection for at least one year from the Voting Deadline.

                   b.     Pre-Validated Ballots: A Voting Nominee may pre-validate a Beneficial
                          Holder Ballot, as applicable by: (i) signing the applicable Beneficial
                          Holder Ballot; (ii) indicating on the Beneficial Holder Ballot the account


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                          number of the Beneficial Holder, and amount of the securities held by the
                          Voting Nominee for such Beneficial Holder; and (iii) forwarding such
                          Beneficial Holder Ballot together with the Solicitation Package and other
                          materials requested to be forwarded to the Beneficial Holder for voting.
                          The Beneficial Holder may then complete the information requested in
                          the Ballot, review the certifications contained in the Ballot, and return the
                          Ballot directly to the Voting Agent in the pre-addressed, postage paid
                          envelope included with the Solicitation Package so that it is received by
                          the Voting Agent before the Voting Deadline. A list of the Beneficial
                          Holders to whom “pre-validated” Ballots were delivered should be
                          maintained by the Voting Nominee for inspection for at least one year
                          from the Voting Deadline.

         31.       Notwithstanding the foregoing, the Plan Debtors further request that a Holder of

 Claims in more than one class under the Plan must execute and submit a separate Ballot for each

 class of Claims in which the claimant holds a Claim, including in the case of debt securities, and

 each Beneficial Holder must execute a separate Beneficial Holder Ballot for each block of debt

 securities that it holds through any Voting Nominee and must return each such Beneficial Holder

 Ballot to the appropriate Voting Nominee.

         F.        Voting Deadline and Procedures for Vote Tabulation.

                   i.     Establishment of Voting Deadline.

         32.       Bankruptcy Rule 3017(c) provides that, in connection with or before approval of a

 disclosure statement, a court shall fix a time within which the holders of claims or equity security

 interests may accept or reject the relevant chapter 11 plan. See FED. R. BANKR. P. 3017(c).

         33.       In accordance with Bankruptcy Rule 3017(c), the Plan Debtors request that the

 Court enter an order requiring that, in order to be counted as a vote to accept or reject the Plan,

 any ballot accepting or rejecting the Plan be properly executed, completed and delivered so as to

 be actually received by GCG, Inc. (“GCG”), as the Plan Debtors’ agent for soliciting votes to

 accept or reject the Plan and providing related services (the “Voting Agent”), not later than 5:00

 p.m. (prevailing Central Time) on a date to be determined by the Court (the “Voting Deadline”).


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         34.       The Plan Debtors submit that a solicitation period of not less than 30 days

 provides sufficient time for creditors to make informed decisions to accept or reject the Plan and

 submit timely ballots. Therefore, the Voting Deadline, once established by the Court, should be

 approved.

                   ii.    Approval of Procedures for Vote Tabulation.

         35.       Section 1126(c) of the Bankruptcy Code provides:

                   A class of claims has accepted a plan if such plan has been accepted by
                   creditors, other than any entity designated under subsection (e) of this
                   section, that hold at least two-thirds in amount and more than one-half in
                   number of the allowed claims of such class held by creditors, other than
                   any entity designated under subsection (e) of this section, that have
                   accepted or rejected such plan.


 11 U.S.C. § 1126(c). Further, Bankruptcy Rule 3018(a) provides that “the court after notice and

 hearing may temporarily allow the claim or interest in an amount which the court deems proper

 for the purpose of accepting or rejecting a plan.” FED. R. BANKR. P. 3018(a).

         36.       The Plan Debtors propose, solely for purposes of voting to accept or reject the

 Plan and not for purposes of allowance or distribution on account of a claim and without

 prejudice to the rights of the Plan Debtors in any other context, that the amount of a claim or

 interest used to tabulate acceptance or rejection of the Plan be either:

               a. the claim amount listed in the Plan Debtors’ schedules of liabilities, provided that
                  such claim is not scheduled as contingent, disputed, or unliquidated and that the
                  creditor has not filed a proof of claim or interest;

               b. the liquidated amount specified in a proof of claim or interest timely filed with the
                  Court (or otherwise deemed timely filed by the Court under applicable law), to the
                  extent that the proof of claim or interest is not the subject of an objection; or

               c. the amount temporarily allowed by the Court for voting purposes, pursuant to
                  Bankruptcy Rule 3018(a), after notice and a hearing at or before the Confirmation
                  Hearing.




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         37.       If a claim holder casts a ballot and the entirety of such creditor’s claim is the

 subject of an objection to said claim filed before the Voting Deadline, the Plan Debtors request

 that such voter’s ballot not be counted. If a voter casts a ballot and part of such voter’s claim is

 the subject of an objection filed before the Voting Deadline, the Plan Debtors request that such

 voter’s ballot be treated as a claim for voting purposes only to the extent of the remaining

 amount of the claim not subject to any objection. In either case, if a voter desires to vote in a

 higher amount, the voter may seek authority from the Court to do so following notice and a

 hearing, pursuant to Bankruptcy Rule 3018(a).

         38.       The Plan Debtors request that ballots cast by voters who have filed proofs of

 claim in contingent, wholly unliquidated, or unknown amounts that are not the subject of an

 objection filed before the Voting Deadline, be temporarily allowed for voting purposes only, and

 not for purposes of allowance or distribution, in the amount of $1.00 each.

         39.       The Plan Debtors further request that claims filed for zero dollars ($0.00) be

 disallowed for voting purposes only and not entitled to vote.

         40.       Notwithstanding anything to the contrary contained herein, any claimant/creditor

 who has filed a claim that is duplicative of another claim(s) within the same Voting Class, as

 determined by the Plan Debtors, shall be provided with only one Solicitation Package and one

 ballot for voting a single claim in such class, regardless of whether the Plan Debtors have

 objected to such duplicate claim(s).

         41.       Any creditor who holds multiple claims within a single class shall have such

 claims aggregated, for purposes of the numerosity requirement of section 1126(c) of the

 Bankruptcy Code, as if such creditor held one claim in such class and the creditor will receive a

 single ballot with respect to all of its claims in such class.



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         42.       In addition, the Plan Debtors request that the following voting procedures and

 standard assumptions (“Tabulation Rules”) be used in tabulating ballots:

                         (a)      Whenever a creditor casts more than one ballot voting the same
                   claim prior to the Voting Deadline, the last properly completed ballot received
                   prior to the Voting Deadline shall be deemed to reflect the voter’s intent and to
                   supersede any prior ballots;

                         (b)       A creditor must vote all of its claims within a class either to accept
                   or reject the Plan and may not split its vote. Accordingly, a ballot that partially
                   rejects and partially accepts the Plan will not be counted;

                         (c)       If a ballot is signed by a trustee, executor, administrator, guardian,
                   attorney-in-fact, officer of a corporation, or another acting in a fiduciary or
                   representative capacity when signing, then unless otherwise determined by the
                   Plan Debtors, on request of the Plan Debtors and prior to the ballot being counted,
                   such signatory must submit proper evidence satisfactory to the Plan Debtors of its
                   authority to act on behalf of a holder of claims;

                         (d)       The Plan Debtors in their discretion, subject to contrary order of
                   the Court, may waive any defect in any ballot at any time, either before or after
                   the close of voting, and without notice. Except as provided below, unless the
                   ballot being furnished is timely submitted on or prior to the Voting Deadline, the
                   Plan Debtors may, in their discretion, reject such ballot as invalid and, therefore,
                   decline to utilize it in connection with confirmation of the Plan by the Court;

                         (e)       Unless otherwise ordered by the Court, all questions as to the
                   validity, form, eligibility (including time of receipt), and revocation or withdrawal
                   of ballots will be determined by the Plan Debtors in their discretion, which
                   determination shall be final and binding;

                        (f)       Subject to contrary order of the Court, the Plan Debtors reserve the
                   absolute right to reject any and all ballots not proper in form, the acceptance of
                   which would, in the opinion of the Plan Debtors, not be in accordance with the
                   provisions of the Bankruptcy Code;

                         (g)       Any ballot that is executed but that does not indicate an acceptance
                   or rejection of the Plan, or that indicates both an acceptance and rejection of the
                   Plan, shall not be counted;

                         (h)     Any ballot transmitted to the Voting Agent by facsimile or other
                   electronic means, except in the Plan Debtors’ sole discretion, will not be counted;

                         (i)       Any ballot that is ineligible, contains insufficient information to
                   permit the identification of the claimant or is unsigned or without an original
                   signature will not be counted;


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                         (j)       Unless waived, any defects or irregularities in connection with
                   deliveries of ballots must be cured within such time as the Plan Debtors or the
                   Court determine. Neither the Plan Debtors nor any other person or entity will be
                   under any duty to provide notification of defects or irregularities with respect to
                   deliveries of ballots, nor will any of them incur any liabilities for failure to
                   provide such notification. Unless otherwise directed by the Court, delivery of
                   such ballots will not be deemed to have been made until such irregularities have
                   been cured or waived. Ballots previously furnished (and as to which any
                   irregularities have not theretofore been cured or waived) will not be counted; and

                          (k)      Any vote purportedly cast on behalf of a class of creditors will not
                   count for voting purposes unless and until the class is certified by the Court
                   pursuant to a class proof of claim to which no objection has been filed, or if an
                   objection has been filed to such a proof of claim, which has been temporarily
                   certified in an allowed amount for purposes of voting.

         43.       The Plan Debtors submit that the proposed Tabulation Rules and other related

 vote tabulation procedures set forth above will establish a fair and equitable voting process and,

 therefore, should be approved.

         G.        Tabulation of Master Ballot and Beneficial Holder Ballots.

         44.       With respect to the tabulation of Master Ballots and Beneficial Holder Ballots cast

 by Voting Nominees and Beneficial Holders, the Plan Debtors propose that the amount that will

 be used to tabulate acceptance or rejection of the Plan will be the principal amount held by such

 Voting Nominees and Beneficial Holders as of the Record Date; provided, however, that any

 principal amounts may be adjusted by the Voting Agent to reflect the amount of the Claim

 actually voted, including any prepetition interest. The Plan Debtors propose that the following

 additional rules apply to the tabulation of Master Ballots and Beneficial Holder Ballots cast by

 Voting Nominees and Beneficial Holders:

                   (a)    For purposes of tabulating votes, each Beneficial Holder will be deemed to
                          have voted the principal amount of its Claim (although any principal
                          amounts may be adjusted by the Voting Agent to reflect the amount of the
                          Claim actually voted, including prepetition interest).




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                   (b)    Votes cast by Beneficial Holders through a Voting Nominee will be
                          applied against the positions held by such entities, in the applicable
                          security, as of the Record Date, as evidenced by the record and depository
                          listings. Votes submitted by a Voting Nominee pursuant to a Master
                          Ballot will not be counted in excess of the amount of the applicable
                          securities held by such Voting Nominee on the Record Date.

                   (c)    To the extent that conflicting votes or “overvotes” are submitted by a
                          Voting Nominee, the Voting Agent, in good faith, will attempt to reconcile
                          discrepancies with the applicable Voting Nominee.

                   (d)    To the extent that overvotes on a Master Ballot are not reconcilable prior
                          to the preparation of the vote certification, the Voting Agent will apply the
                          votes to accept and reject the Plan in the same proportion as the votes to
                          accept and reject the Plan submitted on the Master Ballot that contained
                          the overvote, but only to the extent of the Voting Nominee’s position in
                          the applicable security.

                   (e)    Where a Beneficial Holder holds securities through more than one Voting
                          Nominee, it must execute a separate Ballot for each block of debt
                          securities it owns. Such Holder must, however, vote all of its Claims
                          within each class in the same manner, to either accept or reject the Plan.
                          Accordingly, if such Holder returns more than one Beneficial Holder
                          Ballot to more than one Voting Nominee voting different Claims under the
                          Plan and the Beneficial Holder Ballots are not voted in the same manner,
                          as reflected on such separate Master Ballots, such votes will not be
                          counted.

         45.       The Debtors submit that the proposed Tabulation Rules and other related vote

 tabulation procedures set forth above will establish a fair and equitable voting process and,

 therefore, should be approved.

 III.    Confirmation Hearing and Notice and
         Objection Procedures in Respect of Plan Confirmation.

         A.        Confirmation Hearing.

         46.       Bankruptcy Rule 3017(c) provides that “[o]n or before approval of the disclosure

 statement, the court shall fix a time within which the holders of claims and interests may accept

 or reject the plan and may fix a date for the hearing on confirmation.” FED. R. BANKR. P.

 3017(c).



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         47.       In accordance with Bankruptcy Rule 3017(c), the Plan Debtors request that the

 Confirmation Hearing be scheduled for 10:00 a.m. (prevailing Central Time) on a date to be

 determined by the Court. The Confirmation Hearing may be continued from time-to-time by the

 Court or the Plan Debtors without further notice other than adjournments announced in open

 court or through a filing on the Court’s docket. The proposed timing for the Confirmation

 Hearing is in compliance with the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules

 and will enable the Plan Debtors to pursue confirmation of the Plan in a timely fashion.

         B.        Establishing Notice Procedures.

         48.       Bankruptcy Rule 2002 requires not less than twenty-eight (28) days’ notice to all

 creditors and equity security holders of the time fixed for filing objections and the hearing to

 consider confirmation of a chapter 11 plan. In accordance with Bankruptcy Rules 2002 and

 3017(d), the Plan Debtors propose to provide to all creditors and equity security holders notice

 substantially in the form annexed to the attached proposed order as Exhibit 3 (the “Confirmation

 Hearing Notice”). The Confirmation Hearing Notice contains, inter alia, (a) the date of approval

 of the Disclosure Statement, (b) the deadline for filing objections to confirmation of the Plan,

 (c) the deadline for voting on the Plan, and (d) the time, date and place of the Confirmation

 Hearing.      The Confirmation Hearing Notice complies with the notice requirements of

 Bankruptcy Rules 2002 and 3017.

         49.       Bankruptcy Rule 2002(l) permits the Court to “order notice by publication if it

 finds that notice by mail is impracticable or that it is desirable to supplement the notice.” FED. R.

 BANKR. P. 2002(l). The Plan Debtors propose to publish the form of Confirmation Hearing

 Notice annexed to the proposed order as Exhibit 3 (or a form substantially similar thereto) at




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 least once in The Wall Street Journal or The Dallas Morning News at least twenty-eight (28)

 days prior to the Confirmation Hearing.

         50.       The Plan Debtors submit that the foregoing procedures will provide parties in

 interest adequate notice of the Confirmation Hearing and, accordingly, requests that the Court

 approve such notice as adequate and sufficient.

         C.        Establishing Objection Procedures.

         51.       Pursuant to Bankruptcy Rule 3020(b)(1), objections to confirmation of a plan

 must be filed and served “within a time fixed by the court.” FED. R. BANKR. P. 3020(b)(1). The

 Plan Debtors request that the Court direct that objections to confirmation of the Plan or proposed

 modifications to the Plan, if any, (i) be in writing; (ii) state the name and address of the

 responding party and the amount and nature of the claim or interest of such party; (iii) state with

 particularity the legal and factual basis of any response; (iv) conform to the Bankruptcy Rules

 and Local Rules; and (v) be filed with the Bankruptcy Court, together with proof of service,

 electronically, in accordance with the Administrative Procedures for the Filing, Signing, and

 Verifying of Documents by Electronic Means (the “Administrative Procedures”) (the

 Administrative Procedures can be found at the Bankruptcy Court’s official website

 (http://www.txnb.uscourts.gov)), by registered users of the Bankruptcy Court’s case filing

 system and, by all other parties in interest without legal representation, in paper form, and served

 in accordance with the Administrative Procedures and the Local Rules, so as to be actually

 received not later than 5:00 p.m. (prevailing Central Time) on a date to be determined by the

 Court (the “Objection Deadline”) and, such service shall be completed and actually received

 by the following parties on or prior to the Objection Deadline: (i) DLA Piper LLP (US), 1251

 Avenue of the Americas, New York, NY 10020, Attn: Thomas R. Califano, and 1717 Main Street,



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 Suite 4600, Dallas, TX 75201, Attn: Vincent P. Slusher, counsel to the Debtors; (ii) Mintz, Levin,

 Cohn, Ferris, Glovsky and Popeo, P.C., One Financial Center, Boston, MA 02111, Attn: Daniel

 S. Bleck, counsel for Wells Fargo Bank, N.A. as trustee; (iii) McDermott, Will & Emery, LLP,

 227 West Monroe Street, Chicago, IL, 60606, Attn: Nathan F. Coco, counsel to UMB Bank, N.A.,

 as trustee; (iv) Duane Morris LLP, 190 South LaSalle Street, Suite 3700, Chicago, IL 60603, Attn:

 John Weiss, counsel to Santander Bank, N.A.; (v) McWhorter, Cobb & Johnson, LLP, P.O. Box

 2547, Lubbock, Texas 79408, Attn: R. Michael McCauley, Jr., counsel to Prosperity Bank, N.A.;

 (vi) Greenberg Traurig, LLP, 2200 Ross Avenue, Suite 5200, Dallas, TX 75201, Attn: Clifton R.

 Jessup, Jr., and 77 West Wacker Drive, Suite 3100, Chicago, IL 60601, Attn: Nancy A. Peterman,

 counsel to the Committee; and (vii) the United States Trustee, 1100 Commerce Street, Room 976,

 Dallas, TX 75242, Attn: Nancy S. Resnick.

         52.       The proposed timing for filing and service of objections and proposed

 modifications to the Plan, if any, will afford the Court, the Plan Debtors, and other parties in

 interest sufficient time to consider the objections and proposed modifications to the Plan prior to

 the Confirmation Hearing.

                                   RESERVATION OF RIGHTS

         53.       To the extent that circumstances arise requiring a modification or amendment of

 the Solicitation Procedures and/or the Confirmation Procedures, the Plan Debtors hereby reserve

 the right to supplement and/or amend the Solicitation Procedures and the Confirmation

 Procedures as appropriate to better facilitate the solicitation and/or confirmation process.

                                              NOTICE

         54.       Notice of this Motion has been provided to (a) the Office of the United States

 Trustee for the Northern District of Texas; (b) the Office of the Attorney General of the State of



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 Texas; (c) counsel to the Committee; (d) the Debtors’ thirty (30) largest unsecured creditors on a

 consolidated basis; (e) counsel to each of the Plan Debtors’ secured lenders and bond trustees, as

 applicable; and (f) all parties requesting notice pursuant to Bankruptcy Rule 2002. The Plan

 Debtors submit that, in light of the nature of the relief requested, no other or further notice is

 necessary or required.

                                        NO PRIOR REQUEST

         55.       No prior request for the relief sought in this Motion has been made to this or any

 other Court.

                                            CONCLUSION

         WHEREFORE, the Plan Debtors respectfully requests that the Court enter an Order,

 substantially in the form attached hereto, (i) approving the Disclosure Statement, (ii) scheduling

 the Confirmation Hearing, (iii) approving and establishing the Solicitation Procedures and the

 Confirmation Procedures, as described herein and (iv) granting the Plan Debtors such other and

 further relief as the Court may deem just and proper.

 Dated: December 6, 2014
        Dallas, Texas
                                                DLA PIPER LLP (US)

                                                By: /s/ Vincent P. Slusher
                                                Vincent P. Slusher, State Bar No. 00785480
                                                vincent.slusher@dlapiper.com
                                                Andrew Zollinger, State Bar No. 24063944
                                                andrew.zollinger@dlapiper.com
                                                DLA Piper LLP (US)
                                                1717 Main Street, Suite 4600
                                                Dallas, Texas 75201-4629
                                                Telephone: (214) 743-4500
                                                Facsimile: (214) 743-4545

                                                Thomas R. Califano (admitted pro hac vice)
                                                thomas.califano@dlapiper.com
                                                DLA Piper LLP (US)

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                                      1251 Avenue of the Americas
                                      New York, New York 10020-1104
                                      Tel: (212) 335-4500
                                      Fax: (212) 335-4501

                                      Attorneys for the Debtors and Debtors in Possession




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                                    EXHIBIT A

                                   Proposed Order




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 Vincent P. Slusher, State Bar No. 00785480                    Thomas R. Califano (admitted pro hac vice)
 vincent.slusher@dlapiper.com                                  thomas.califano@dlapiper.com
 Andrew Zollinger, State Bar No. 24063944                      DLA Piper LLP (US)
 andrew.zollinger@dlapiper.com                                 1251 Avenue of the Americas
 DLA Piper LLP (US)                                            New York, New York 10020-1104
 1717 Main Street, Suite 4600                                  Tel: (212) 335-4500
 Dallas, Texas 75201-4629                                      Fax: (212) 335-4501
 Tel: (214) 743-4500
 Fax: (214) 743-4545

 ATTORNEYS FOR THE DEBTORS
 AND DEBTORS IN POSSESSION

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


 In re:                                                    §          CASE NO. 14-32821-11
                                                           §
 SEARS METHODIST RETIREMENT                                §          CHAPTER 11
 SYSTEM, INC., et al.1                                     §
                                                           §          Jointly Administered
                            Debtors.                       §

                 ORDER (I) APPROVING DISCLOSURE STATEMENT,
           (II) ESTABLISHING PROCEDURES FOR THE SOLICITATION
           AND TABULATION OF VOTES TO ACCEPT OR REJECT THE
     PLAN DEBTORS’ CHAPTER 11 PLAN, (III) SCHEDULING A CONFIRMATION
        HEARING, AND (IV) APPROVING RELATED NOTICE PROCEDURES

          Upon the motion (“Motion”) of Sears Methodist Retirement System, Inc., Sears Caprock

 Retirement Corporation, Sears Methodist Centers, Inc., Sears Methodist Foundation, Sears

 Panhandle Retirement Corporation, Sears Permian Retirement Corporation, Sears Plains

 Retirement Corporation, Sears Tyler Methodist Retirement Corporation, and Senior Dimensions,

 Inc. (collectively, the “Plan Debtors” and, together with the remaining debtors and debtors in

 1
     The debtors in these chapter 11 cases, along with the last four (4) digits of their taxpayer identification numbers,
     are: Sears Methodist Retirement System, Inc. (6330), Canyons Senior Living, L.P. (8545), Odessa Methodist
     Housing, Inc. (9569), Sears Brazos Retirement Corporation (8053), Sears Caprock Retirement Corporation
     (9581), Sears Methodist Centers, Inc. (4917), Sears Methodist Foundation (2545), Sears Panhandle Retirement
     Corporation (3233), Sears Permian Retirement Corporation (7608), Sears Plains Retirement Corporation (8233),
     Sears Tyler Methodist Retirement Corporation (0571) and Senior Dimensions, Inc. (4016). The mailing address
     of each of the debtors, solely for purposes of notices and communications, is 2100 Ross Avenue 21st Floor, c/o
     Paul Rundell, Dallas, Texas 75201.



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 possession in the above-captioned cases, the “Debtors”), seeking entry of an order (this “Order”)

 (i) approving the Disclosure Statement,2 (ii) establishing procedures for the solicitation and

 tabulation of votes to accept or reject the Plan, (iii) scheduling a Confirmation Hearing, and

 (iv) approving related notice procedures, all as more fully set forth in the Motion; and the Court

 having jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C.

 §§ 157 and 1334; and this being a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and venue

 being proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409; and the Plan Debtors

 having filed with the Court the Disclosure Statement and the Plan; and due and adequate notice

 of the Motion having been given in accordance with Bankruptcy Rules 2002 and 3017; and it

 appearing that no other or further notice need be given; after due deliberation thereon, the Court

 having determined, for the reasons stated in the Motion and based on the record in these cases

 and at the hearing held in consideration of the same, that the relief sought in the Motion is in the

 best interests of the Plan Debtors, their creditors, and all parties in interest; and upon all of the

 proceedings had before the Court; and after due deliberation and sufficient cause appearing

 therefore:

         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

         1.        The Plan Debtors are authorized and empowered to take all actions necessary to

 effectuate the relief granted pursuant to this Order in accordance with the Motion.

         2.        The Disclosure Statement complies with section 1125 of the Bankruptcy Code

 and is hereby approved as containing “adequate information” within the meaning of section 1125

 of the Bankruptcy Code.




 2
     Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.


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         3.        Any objections to approval of the Disclosure Statement not previously withdrawn

 are hereby overruled.

         4.        The Solicitation Procedures (and the form and manner of notice thereof),

 including the notice of non-voting status (substantially in the form annexed hereto as Exhibit 1),

 the form of ballots (substantially in the forms annexed hereto as Exhibit 2), the Solicitation

 Commencement Date of _____________, the Voting Deadline of ________________, the

 Solicitation Package, the Record Date of December 8, 2014, the Tabulation Rules, and all other

 Solicitation Procedures described in the Motion, are hereby approved; provided, however, that

 the Plan Debtors have reserved, subject to Court approval, the right to further amend or

 supplement the Solicitation Procedures to better facilitate the solicitation process.

         5.        The temporary allowance of claims for voting purposes does not constitute an

 allowance of such claims for purposes of receiving distributions under the Plan and is without

 prejudice to the rights of the Plan Debtors and the Liquidating Trustee (as defined in the Plan) in

 any other context, including the right of the Plan Debtors and the Liquidating Trustee to contest

 the amount, validity, or classification of any claim for purposes of allowance and distribution

 under the Plan.

         6.        The Confirmation Procedures, including the Confirmation Hearing Notice

 (substantially in the form annexed hereto as Exhibit 3) and the form and manner of service and

 publication thereof, and all other Confirmation Procedures described in the Motion, are hereby

 approved; provided, however, that the Debtors have reserved, subject to Court approval, the right

 to further amend or supplement the Confirmation Procedures to better facilitate the confirmation

 process.




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         7.        The Confirmation Hearing is scheduled to be held before the Honorable Stacey G.

 C. Jernigan, United States Bankruptcy Judge for the Northern District of Texas, Courtroom 1,

 United States Bankruptcy Court, Earle Cabell Federal Building, 1100 Commerce Street,

 Fourteenth Floor, Dallas, TX 75254-1496, on _________________ at ______.m. (prevailing

 Central Time), which date may be continued from time-to-time without further notice other than

 the announcement at such time of the date or dates of any adjourned hearing.

         8.        Any objections to the Plan must: (i) be in writing; (ii) state the name and address

 of the responding party and the amount and nature of the claim or interest of such party;

 (iii) state with particularity the legal and factual basis of any response; (iv) conform to the

 Bankruptcy Rules and Local Rules; and (v) be filed with the Bankruptcy Court, together with

 proof of service, electronically, in accordance with Administrative Procedures for the Filing,

 Signing, and Verifying of Documents by Electronic Means (the “Administrative Procedures”)

 (the Administrative Procedures can be found at the Bankruptcy Court’s official website

 (http://www.txnb.uscourts.gov)), by registered users of the Bankruptcy Court’s case filing

 system and, by all other parties in interest without legal representation, in paper form, and served

 in accordance with the Administrative Procedures and the Local Rules, so as to be actually

 received not later than ____.m. (prevailing Central Time) on __________________ (the

 “Objection Deadline”) and, such service shall be completed and actually received by the

 following parties on or prior to the Objection Deadline: (i) DLA Piper LLP (US), 1251 Avenue

 of the Americas, New York, NY 10020, Attn: Thomas R. Califano, and 1717 Main Street, Suite

 4600, Dallas, TX 75201, Attn: Vincent P. Slusher, counsel to the Debtors; (ii) Mintz, Levin, Cohn,

 Ferris, Glovsky and Popeo, P.C., One Financial Center, Boston, MA 02111, Attn: Daniel S.

 Bleck, counsel for Wells Fargo Bank, N.A. as trustee; (iii) McDermott, Will & Emery, LLP, 227



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 West Monroe Street, Chicago, IL, 60606, Attn: Nathan F. Coco, counsel to UMB Bank, N.A., as

 trustee; (iv) Duane Morris LLP, 190 South LaSalle Street, Suite 3700, Chicago, IL 60603, Attn:

 John Weiss, counsel to Santander Bank, N.A.; (v) McWhorter, Cobb & Johnson, LLP, P.O. Box

 2547, Lubbock, Texas 79408, Attn: R. Michael McCauley, Jr., counsel to Prosperity Bank, N.A.;

 (vi) Greenberg Traurig, LLP, 2200 Ross Avenue, Suite 5200, Dallas, TX 75201, Attn: Clifton R.

 Jessup, Jr., and 77 West Wacker Drive, Suite 3100, Chicago, IL 60601, Attn: Nancy A. Peterman,

 counsel to the Committee; and (vii) the United States Trustee, 1100 Commerce Street, Room 976,

 Dallas, TX 75242, Attn: Nancy S. Resnick.

          9.       The Plan Debtors and any other parties in interest shall file replies, if any, to

 objections to confirmation of the Plan by ________________, at 5:00 p.m. (prevailing Central

 Time).

          10.      On or before ______________, the Plan Debtors shall cause the Confirmation

 Hearing Notice to be published at least once in The Wall Street Journal or The Dallas Morning

 News.

          11.      The terms of this Order shall be binding upon the Plan Debtors, all creditors of the

 Plan Debtors, the Committee and any trustees appointed in this proceeding or any trustees

 appointed in any subsequent proceedings under chapter 7 or chapter 11 of the Bankruptcy Code

 relating to the Plan Debtors, and all other parties in interest.

          12.      All time periods set forth in this Order shall be calculated in accordance with Fed.

 R. Bankr. P. 9006(a).

          13.      This Court shall retain jurisdiction to hear and determine all matters arising from

 or related to the implementation, interpretation or enforcement of this Order.




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         14.       Notwithstanding any Bankruptcy Rule to the contrary, this Order shall be

 immediately effective and enforceable upon its entry.

                                    ###END OF ORDER###

 Order submitted by:

 DLA PIPER LLP (US)

 By: /s/ Vincent P. Slusher
 Vincent P. Slusher, State Bar No. 00785480
 vincent.slusher@dlapiper.com
 Andrew Zollinger, State Bar No. 24063944
 andrew.zollinger@dlapiper.com
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 Facsimile: (212) 335-4501

 Attorneys for the Debtors and Debtors in Possession




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                                     EXHIBIT 1

                                  Non-Voting Notice




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 Vincent P. Slusher, State Bar No. 00785480                    Thomas R. Califano (admitted pro hac vice)
 vincent.slusher@dlapiper.com                                  thomas.califano@dlapiper.com
 Andrew Zollinger, State Bar No. 24063944                      DLA Piper LLP (US)
 andrew.zollinger@dlapiper.com                                 1251 Avenue of the Americas
 DLA Piper LLP (US)                                            New York, New York 10020-1104
 1717 Main Street, Suite 4600                                  Tel: (212) 335-4500
 Dallas, Texas 75201-4629                                      Fax: (212) 335-4501
 Tel: (214) 743-4500
 Fax: (214) 743-4545

 ATTORNEYS FOR THE DEBTORS
 AND DEBTORS IN POSSESSION

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

 In re:                                                    §          CASE NO. 14-32821-11
                                                           §
 SEARS METHODIST RETIREMENT                                §          CHAPTER 11
 SYSTEM, INC., et al.1                                     §
                                                           §          Jointly Administered
                            Debtors.                       §


               NOTICE OF NON-VOTING STATUS WITH RESPECT TO
            CLASSES DEEMED TO EITHER ACCEPT OR REJECT THE PLAN

         PLEASE TAKE NOTICE that on December 6, 2014, Sears Methodist Retirement
 System, Inc., Sears Caprock Retirement Corporation, Sears Methodist Centers, Inc., Sears
 Methodist Foundation, Sears Panhandle Retirement Corporation, Sears Permian Retirement
 Corporation, Sears Plains Retirement Corporation, Sears Tyler Methodist Retirement
 Corporation, and Senior Dimensions, Inc. (collectively, the “Plan Debtors” and, together with the
 remaining debtors and debtors in possession in the above-captioned cases, the “Debtors”), filed
 the Disclosure Statement (as the same may be amended, modified, or supplemented from time to
 time, the “Disclosure Statement”) and the Plan Debtors’ Joint Plan of Reorganization Pursuant to
 Chapter 11 of the Bankruptcy Code (as the same may be amended, modified, or supplemented
 from time to time, the “Plan”). On __________________, the Honorable Stacey G. C. Jernigan
 of the United States Bankruptcy Court for the Northern District of Texas (the “Bankruptcy
 Court”) entered an order (the “Solicitation Procedures Order”), among other things, (i) approving

 1
     The debtors in these chapter 11 cases, along with the last four (4) digits of their taxpayer identification numbers,
     are: Sears Methodist Retirement System, Inc. (6330), Canyons Senior Living, L.P. (8545), Odessa Methodist
     Housing, Inc. (9569), Sears Brazos Retirement Corporation (8053), Sears Caprock Retirement Corporation
     (9581), Sears Methodist Centers, Inc. (4917), Sears Methodist Foundation (2545), Sears Panhandle Retirement
     Corporation (3233), Sears Permian Retirement Corporation (7608), Sears Plains Retirement Corporation (8233),
     Sears Tyler Methodist Retirement Corporation (0571) and Senior Dimensions, Inc. (4016). The mailing address
     of each of the debtors, solely for purposes of notices and communications, is 2100 Ross Avenue, 21st Floor, c/o
     Paul Rundell, Dallas, Texas 75201.



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 the Disclosure Statement, (ii) approving certain related notice procedures and other procedures
 for the solicitation and tabulation of votes to accept or reject the Plan, and (iii) scheduling a
 hearing for confirmation of the Plan (the “Confirmation Hearing”). The Plan Debtors are using
 the Disclosure Statement in connection with the solicitation of acceptances of the Plan from the
 holders of certain impaired claims against the Plan Debtors who are entitled to vote to accept or
 reject the Plan.

       UNDER THE TERMS OF THE PLAN, YOUR CLAIM(S) AGAINST THE PLAN
 DEBTORS IS EITHER NOT IMPAIRED (DEEMED TO ACCEPT THE PLAN) OR
 IMPAIRED AND YOU ARE NOT ENTITLED TO RECEIVE OR RETAIN ANY
 PROPERTY UNDER THE PLAN ON ACCOUNT OF SUCH CLAIM(S) (DEEMED TO
 REJECT THE PLAN) AND, THEREFORE, PURSUANT TO SECTIONS 1126(f) AND (g)
 OF THE UNITED STATES BANKRUPTCY CODE, YOU ARE (I) DEEMED TO HAVE
 EITHER ACCEPTED OR REJECTED THE PLAN, AND (II) NOT ENTITLED TO
 VOTE ON THE PLAN. IF YOU HAVE ANY QUESTIONS ABOUT THE STATUS OF
 YOUR CLAIM(S), YOU SHOULD CONTACT COUNSEL FOR THE DEBTORS, DLA
 PIPER LLP (US), 1717 MAIN STREET, SUITE 4600, DALLAS, TX 75201, ATTN:
 VINCENT P. SLUSHER, TELEPHONE NO. (214) 743-4500. ALTHOUGH YOU ARE
 NOT ENTITLED TO VOTE ON THE PLAN WITH RESPECT TO YOUR CLAIM(S),
 YOU ARE A PARTY IN INTEREST IN THE PLAN DEBTORS’ CHAPTER 11 CASES.
 ACCORDINGLY, YOU ARE ENTITLED TO PARTICIPATE IN THE CHAPTER 11
 CASES, INCLUDING BY FILING OBJECTIONS TO CONFIRMATION OF THE
 PLAN.

         PLEASE TAKE FURTHER NOTICE that Section 11 of the Plan contains certain
 release, exculpation, and injunction language. You should read the provisions contained in
 Section 11 of the Plan very carefully so that you understand how confirmation and
 consummation of the Plan will affect you and any claim, interest, right or action you may have
 against the Plan Debtors. THE PLAN WILL BIND ALL HOLDERS OF CLAIMS
 AGAINST AND INTERESTS IN THE PLAN DEBTORS TO THE FULLEST EXTENT
 AUTHORIZED OR PROVIDED UNDER THE APPLICABLE PROVISIONS OF THE
 BANKRUPTCY CODE AND BY ALL OTHER APPLICABLE LAW.

         PLEASE TAKE FURTHER NOTICE that the Confirmation Hearing will commence
 on _______________ at _______ _.m. (prevailing Central Time), or as soon thereafter as
 counsel can be heard, before the Honorable Stacey G. C. Jernigan, of the United States
 Bankruptcy Court for the Northern District of Texas Courtroom 1, United States Bankruptcy
 Court, Earle Cabell Federal Building, 1100 Commerce Street, Fourteenth Floor, Dallas, TX
 75254-1496 (the “Bankruptcy Court”). The Confirmation Hearing may be continued from time
 to time by the announcement of such continuance in open court or otherwise, all without further
 notice to parties in interest, and the Plan may be modified pursuant to 11 U.S.C. § 1127 prior to,
 during or as a result of the Confirmation Hearing, without further notice to parties in interest.

        PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court has established
 _______________ at ________.m. (prevailing Central Time) as the deadline for filing and
 serving objections to confirmation of the Plan or final approval of the Disclosure Statement (the


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 “Objection Deadline”). Objections not timely filed and served will be overruled by the
 Bankruptcy Court. To be considered by the Bankruptcy Court, any objections to the Plan must
 (i) be in writing; (ii) state the name and address of the responding party and the amount and
 nature of the claim or interest of such party; (iii) state with particularity the legal and factual
 basis of any response; (iv) conform to the Bankruptcy Rules and Local Rules; and (v) be filed
 with the Bankruptcy Court, together with proof of service, electronically, in accordance with the
 Administrative Procedures for the Filing, Signing, and Verifying of Documents by Electronic
 Means (the “Administrative Procedures”) (the Administrative Procedures can be found at the
 Bankruptcy Court’s official website (http://www.txnb.uscourts.gov)) by registered users of the
 Bankruptcy Court’s case filing system and, by all other parties in interest without legal
 representation, in paper form, and served in accordance with the Administrative Procedures and
 the Local Rules, so as to be actually received not later than 5:00 p.m. (prevailing Central
 Time) on ________________ and, such service shall be completed and actually received by the
 following parties on or prior to the Objection Deadline: (i) DLA Piper LLP (US), 1251 Avenue
 of the Americas, New York, NY 10020, Attn: Thomas R. Califano, and 1717 Main Street, Suite
 4600, Dallas, TX 75201, Attn: Vincent P. Slusher, counsel to the Debtors; (ii) Mintz, Levin,
 Cohn, Ferris, Glovsky and Popeo, P.C., One Financial Center, Boston, MA 02111, Attn: Daniel
 S. Bleck, counsel for Wells Fargo Bank, N.A. as trustee; (iii) McDermott, Will & Emery, LLP,
 227 West Monroe Street, Chicago, IL, 60606, Attn: Nathan F. Coco, counsel to UMB Bank,
 N.A., as trustee; (iv) Duane Morris LLP, 190 South LaSalle Street, Suite 3700, Chicago, IL
 60603, Attn: John Weiss, counsel to Santander Bank, N.A.; (v) McWhorter, Cobb & Johnson,
 LLP, P.O. Box 2547, Lubbock, Texas 79408, Attn: R. Michael McCauley, Jr., counsel to
 Prosperity Bank, N.A.; (vi) Greenberg Traurig, LLP, 2200 Ross Avenue, Suite 5200, Dallas, TX
 75201, Attn: Clifton R. Jessup, Jr., and 77 West Wacker Drive, Suite 3100, Chicago, IL 60601,
 Attn: Nancy A. Peterman, counsel to the Committee; and (vii) the United States Trustee, 1100
 Commerce Street, Room 976, Dallas, TX 75242, Attn: Nancy S. Resnick.

         PLEASE TAKE FURTHER NOTICE that any party in interest wishing to obtain a
 copy of the Disclosure Statement, the Plan, or the Solicitation Procedures Order may request
 such copies by (i) accessing the Bankruptcy Court’s website at http://www.txnb.uscourts.gov;
 (ii) contacting the Office of the Clerk of the Court, Earle Cabell Federal Building, 1100
 Commerce St., Rm. 125, Dallas, TX 75242-1496; (iii) contacting the Voting Agent, GCG, Inc.
 (“GCG”) at (844) 322-8219; or (iv) accessing the website maintained by GCG, available at
 http://cases.gcginc.com/smr. Note that a PACER password is needed to access documents on the
 Bankruptcy Court’s website.

 Dated: ____________________
        Dallas, Texas
                                              DLA PIPER LLP (US)

                                              By: /s/ Vincent P. Slusher
                                              Vincent P. Slusher, State Bar No. 00785480
                                              vincent.slusher@dlapiper.com
                                              Andrew Zollinger, State Bar No. 24063944
                                              andrew.zollinger@dlapiper.com
                                              DLA Piper LLP (US)

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                                      1717 Main Street, Suite 4600
                                      Dallas, Texas 75201-4629
                                      Telephone: (214) 743-4500
                                      Facsimile: (214) 743-4545

                                      Thomas R. Califano (admitted pro hac vice)
                                      thomas.califano@dlapiper.com
                                      DLA Piper LLP (US)
                                      1251 Avenue of the Americas
                                      New York, New York 10020-1104
                                      Tel: (212) 335-4500
                                      Fax: (212) 335-4501

                                      Attorneys for the Debtors and Debtors in Possession




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                                     EXHIBIT 2

                                   Form of Ballots




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            No person has been authorized to give any information or advice, or to make any representation,
  other than what is contained in the Disclosure Statement for Plan Debtors’ Joint Plan of Reorganization Pursuant to
                                          Chapter 11 of the Bankruptcy Code.
                                      [APPLICABLE PLAN DEBTOR]

                   BENEFICIAL HOLDER BALLOT FOR ACCEPTING OR REJECTING THE
                          PLAN DEBTORS’ JOINT PLAN OF REORGANIZATION
                        PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

             THIS BALLOT IS EXCLUSIVELY FOR THE USE BY BENEFICIAL HOLDERS OF
                          CLASS 3 – OBLIGATED BOND GROUP CLAIMS


           This ballot (“Ballot”) is being sent to all beneficial holders of the Series 1998A Bonds, Series 1999 Bonds,
 Series 2003A Bonds, Series 2013A Bonds, Series 2013B Bonds, Series 2013C Bonds, or Series 2013D Bonds
 (collectively, the “Beneficial Holders”) for use in voting to accept or reject the Plan Debtors’ Joint Plan of
 Reorganization Pursuant to Chapter 11 of the Bankruptcy Code, dated December 6, 2014 (as it may be amended,
 modified, or supplemented from time to time, the “Plan”) and in connection with the Disclosure Statement for the
 Plan, dated December 6, 2014 (as it may be amended, modified, or supplemented from time to time, the “Disclosure
 Statement”), copies of which accompany this Ballot. All capitalized terms not defined herein shall have the
 meanings given to them in the Plan.

      You are receiving this Ballot because records maintained by your broker, dealer, commercial bank, trust
 company, or other nominee or intermediary (“Nominee”) indicate that you are a Beneficial Holder of a Claim
 arising under, related to or in connection with the Series 1998A Bonds, Series 1999 Bonds, Series 2003A Bonds,
 Series 2013A Bonds, Series 2013B Bonds, Series 2013C Bonds, or Series 2013D Bonds. Accordingly, you have a
 right to vote to accept or reject the Plan.

           Your rights are described in the Disclosure Statement, which was included in the solicitation package you
 are receiving with this Ballot. This Ballot may not be used for any purpose other than casting votes to accept or
 reject the Plan and making certain certifications with respect to the Series 1998A Bonds, Series 1999 Bonds, Series
 2003A Bonds, Series 2013A Bonds, Series 2013B Bonds, Series 2013C Bonds, or Series 2013D Bonds. The
 Bankruptcy Court can confirm the Plan and bind you, whether or not you vote, if it is accepted by the holders of
 two-thirds in dollar amount of Claims and Interests, and in the case of a Class of Claims, more than one-half in
 number of Claims, that vote on the Plan in each voting class, and if it otherwise satisfies the requirements of section
 1129 of the Bankruptcy Code. If the requisite acceptances are not obtained, the Bankruptcy Court nonetheless may
 confirm the Plan if it finds that the Plan (i) provides fair and equitable treatment to, and does not unfairly
 discriminate against, each Class rejecting the Plan and (ii) otherwise satisfies the requirements of section 1129(b) of
 the Bankruptcy Code. If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether or not
 you vote to accept or reject the Plan.

          If you have any questions regarding this Ballot or the procedures to vote with respect to the Plan, please
 contact the voting agent, GCG, Inc. (the “Voting Agent”) at (844) 322-8219.

                                                     IMPORTANT

 You should review the Disclosure Statement and Plan before voting. You may wish to seek legal advice concerning
 the Plan and the classification and treatment of your claim or other claims under the Plan. Obligated Group Bond
 Claims have been placed in Class 3 under the Plan. If you hold more than one Obligated Group Bond Claim, you
 will receive a Ballot for each claim you are entitled to vote.

 VOTING DEADLINE:           5:00 p.m. (prevailing Central Time) on _____________.

 The voting record date has been set for ________________.



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 Most Beneficial Holders will submit votes to accept or reject the Plan by completing a Ballot and returning it to their
 Nominee, who will then prepare and submit a master ballot (a “Master Ballot”). You may have received specific
 instructions from your Nominee for use in returning completed Ballots. Please follow the instructions provided by
 your Nominee and return your Ballot in sufficient time for your Nominee to complete and submit the Master Ballot
 so that is received on or before the Voting Deadline. If a Master Ballot is not received by the Voting Agent, on or
 before the Voting Deadline and such Voting Deadline is not extended, the vote will not count as an acceptance or
 rejection of the Plan.

 If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether or not you vote on the Plan.

 Copies of the Plan and Disclosure Statement are on file with the Clerk of the Bankruptcy Court for the Northern
 District of Texas, and may be reviewed during the regular hours of the Bankruptcy Court or online through the
 Bankruptcy Court’s internet website at http://www.txnb.uscourts.gov.

 A person signing a Ballot in capacity as a trustee, executor, administrator, guardian, attorney in fact, officer of a
 corporation, or otherwise acting in a fiduciary or representative capacity should indicate such capacity when signing
 and, if requested, must submit proper evidence to the requesting party of authorization to sign.


 Item 1. Principal Amount of Series 1998A Bonds, Series 1999 Bonds, Series 2003A Bonds, Series 2013A Bonds,
 Series 2013B Bonds, Series 2013C Bonds, or Series 2013D Bonds.

 The undersigned hereby certifies that the undersigned is the Beneficial Holder (or authorized signatory for a
 Beneficial Holder), or the Nominee of a Beneficial Holder, of Series 1998A Bonds, Series 1999 Bonds, Series
 2003A Bonds, Series 2013A Bonds, Series 2013B Bonds, Series 2013C Bonds, or Series 2013D Bonds in the
 CUSIP indicated by your nominee in the following principal amount:

 *(If an amount has not been provided by your bank, broker, nominee or other intermediary on a label below, please
 insert amount in box below. If your Series 1998A Bonds, Series 1999 Bonds, Series 2003A Bonds, Series 2013A
 Bonds, Series 2013B Bonds, Series 2013C Bonds, or Series 2013D Bonds are held by a Nominee on your behalf and
 you do not know the amount of Series 1998A Bonds, Series 1999 Bonds, Series 2003A Bonds, Series 2013A Bonds,
 Series 2013B Bonds, Series 2013C Bonds, or Series 2013D Bonds held or the amount provided on the label is
 incorrect, please contact your Nominee immediately.)




                                Amount Held: $__________________




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 Item 2.    Accepting or Rejecting the Plan Debtors’ Joint Plan of Reorganization Pursuant to Chapter 11 of the
            Bankruptcy Code.

 The undersigned acknowledge(s) receipt of the Plan and Disclosure Statement. Please note that the Plan
 contemplates separate classes of creditors for voting and distribution purposes. You may not split your vote. You
 must vote all of the Series 1998A Bonds, Series 1999 Bonds, Series 2003A Bonds, Series 2013A Bonds, Series
 2013B Bonds, Series 2013C Bonds, or Series 2013D Bonds you hold to either accept or to reject the Plan.

 A vote to accept the Plan constitutes your consent to the releases, injunctions and exculpation provisions specified in
 the Plan.

 Any Obligated Group Bond Claim represented by this Ballot that (a) does not indicate either an acceptance or a
 rejection of the Plan, (b) indicates both an acceptance and a rejection of the Plan or (c) is incomplete, illegible or
 unsigned, will not be included in any calculation of votes with respect to the Plan.

 The undersigned:       ☐ ACCEPTS (votes FOR) the Plan.
                        ☐ REJECTS (votes AGAINST) the Plan.
 Item 3. Certification Regarding Votes Cast on Other Ballots in Respect of the Class 3 – Obligated Group Bond
 Claims.

 If the Beneficial Holder(s) on behalf of which this Ballot is being cast has (have) cast other Ballots on account of
 being a Beneficial Holder of Class 3 Claims, the undersigned certifies (certify) that the requisite information
 regarding such other Ballots has been included in the tables below (or on additional sheets attached hereto). Only
 information relating to such other Ballots cast by Beneficial Holder(s) on account of being a Beneficial Holder of
 Class 3 Claims should be identified in this Item 3.

                             Other Class 3 Ballots Cast By Beneficial Holder
           Record Holder Customer        Name of Holder or            CUSIP Number of           Principal Amount of
            Account Number(s) of       Nominee of Other Class 3      Other Class 3 Claims       Other Class 3 Claims
            Other Class 3 Claims           Claims Voted                     Voted                      Voted
 1.
 2.
 3.
 4.
 5.




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 Item 4. Certification

 By returning this Ballot, the undersigned certifies that it is the Beneficial Holder (or is the authorized signatory and
 has full power and authority to vote for the Beneficial Holder) of such Series 1998A Bonds, Series 1999 Bonds,
 Series 2003A Bonds, Series 2013A Bonds, Series 2013B Bonds, Series 2013C Bonds, or Series 2013D Bonds
 described in Item 1 above to which this Ballot pertains and is sending this Ballot to its bank, broker, nominee or
 other intermediary with respect to the Series 1998A Bonds, Series 1999 Bonds, Series 2003A Bonds, Series 2013A
 Bonds, Series 2013B Bonds, Series 2013C Bonds, or Series 2013D Bonds, and authorizes and instructs such entity
 to submit a Master Ballot to the Voting Agent.

 Name of Holder: ________________________________________________________________

                                                      (Print or Type)
 Social Security or Federal Tax I.D. No.: _____________________________________________
 Bank or Broker with Custody of My Series 1998A Bonds, Series 1999 Bonds, Series 2003A Bonds,
 Series 2013A Bonds, Series 2013B Bonds, Series 2013C Bonds, or Series 2013D Bonds (Optional):
 ______________________________________________________________________
 Bank/Broker DTC Number (Optional): ______________________________________________
 Signature: _____________________________________________________________________
 Print Name: ____________________________________________________________________
 Title (if corporation, partnership or LLC): ____________________________________________
 Street Address: _________________________________________________________________
 City, State, Zip Code: ____________________________________________________________
 Telephone Number: _____________________________________________________________
 Email Address (Optional): ________________________________________________________
 Date Completed: _______________________________________________________________

 IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE PROCEDURES TO VOTE WITH
 RESPECT TO THE PLAN OR YOU WOULD LIKE ADDITIONAL COPIES OF THE DISCLOSURE
 STATEMENT, PLEASE CALL THE VOTING AGENT, GCG, INC. AT (844) 322-8219.




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                                                VOTING DEADLINE

 THE VOTING DEADLINE IS _______________ AT 5:00 P.M. (PREVAILING CENTRAL TIME).

 PLEASE USE THE RETURN ENVELOPE PROVIDED. UNLESS OTHERWISE DIRECTED, THIS BALLOT
 MUST BE RETURNED TO YOUR BANK, BROKER, NOMINEE OR OTHER INTERMEDIARY WITH
 SUFFICIENT TIME TO PERMIT THE MASTER BALLOTS TO BE RETURNED TO THE VOTING AGENT
 PRIOR TO THE VOTING DEADLINE.

                                       HOW TO COMPLETE THIS BALLOT

          The Disclosure Statement Order contains procedures that govern voting and the tabulation of this
 Beneficial Holder Ballot (the “Voting and Tabulation Procedures”). The Voting and Tabulation Procedures are
 incorporated herein by reference and should be read in conjunction with completing this Beneficial Holder Ballot.

         The Voting Record Date is ________________. The Voting Record Date is the date for purposes of
 determining those holders of Claims that are entitled to vote to accept or reject the Plan.

         The Voting Deadline is 5:00 p.m., prevailing Central Time, on _______________. Please complete, sign
 and date this Beneficial Holder Ballot, as indicated below, and return it in the envelope provided. IF YOU
 RECEIVED A RETURN ENVELOPE ADDRESSED TO YOUR NOMINEE, YOU MAY RETURN YOUR
 BALLOT USING THE ENVELOPE PROVIDED. PLEASE ALLOW SUFFICIENT TIME FOR YOUR
 NOMINEE TO PROCESS YOUR VOTE ON A MASTER BALLOT BEFORE THE VOTING DEADLINE.
 BENEFICIAL HOLDER BALLOTS TRANSMITTED BY FACSIMILE, TELECOPY TRANSMISSION OR
 ELECTRONIC MAIL WILL NOT BE ACCEPTED AND WILL NOT BE COUNTED AS VOTES TO ACCEPT
 OR REJECT THE PLAN.

         To properly complete the Beneficial Holder Ballot, you must follow the procedures described below:

         1.        make sure that the information contained in Item 1 is correct;


         2.        if you have one or more Obligated Group Bond Claims, cast one vote to accept or reject the Plan
                   with respect to all such Obligated Group Bond Claims by checking the appropriate box in Item 2;


         3.        if applicable to you, provide the information required by Item 3;


         4.        review the certifications and acknowledgments in Item 4;


         5.        sign and date this Beneficial Holder Ballot;


         6.        if you are completing and/or signing this Beneficial Holder Ballot on behalf of another person or
                   entity, indicate your relationship with such person or entity and the capacity in which you are
                   signing. The Plan Debtors may at their discretion require you to submit satisfactory evidence of
                   your authority to so act (e.g., a power of attorney or a certified copy of board resolutions
                   authorizing you to so act); and


         7.        return your Beneficial Holder Ballot as noted above.




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                                                 EXHIBIT A
 Your Nominee may have checked a box below to indicate the securities to which this Beneficial Holder Ballot
 pertains, or otherwise provided that information to you on a label or schedule attached to the Beneficial Holder
 Ballot.


               CUSIP                                CUSIP                                  CUSIP




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            No person has been authorized to give any information or advice, or to make any representation,
  other than what is contained in the Disclosure Statement for Plan Debtors’ Joint Plan of Reorganization Pursuant to
                                          Chapter 11 of the Bankruptcy Code.
                                      [APPLICABLE PLAN DEBTOR]

                        MASTER BALLOT FOR ACCEPTING OR REJECTING THE
                          PLAN DEBTORS’ JOINT PLAN OF REORGANIZATION
                        PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

   THIS BALLOT IS EXCLUSIVELY FOR THE USE BY NOMINEES OF BENEFICIAL HOLDERS OF
                      CLASS 3 – OBLIGATED GROUP BOND CLAIMS

          This master ballot (the “Master Ballot”) is to be used by you, as a bank, broker, nominee or other
 intermediary (each of the foregoing, a “Nominee”), for beneficial holders of the Series 1998A Bonds, Series 1999
 Bonds, Series 2003A Bonds, Series 2013A Bonds, Series 2013B Bonds, Series 2013C Bonds, or Series 2013D
 Bonds (collectively, the “Beneficial Holders”). This Master Ballot is being sent to Nominees for such Nominees to
 cast votes to accept or reject the Plan Debtors’ Joint Plan of Reorganization Pursuant to Chapter 11 of the
 Bankruptcy Code, dated December 6, 2014 (as it may be amended, modified, or supplemented from time to time, the
 “Plan”) on behalf of and in accordance with the voting instructions cast by the Beneficial Holders. The Plan is
 attached to the Disclosure Statement for the Plan, dated December 6, 2014 (the “Disclosure Statement”), which
 accompanies this Master Ballot.

          The Bankruptcy Court can confirm the Plan and bind you, whether or not you vote, if it is accepted by the
 holders of two-thirds in dollar amount of Claims and Interests, and in the case of a Class of Claims, more than one-
 half in number of Claims, that vote on the Plan in each voting class, and if it otherwise satisfies the requirements of
 section 1129 of the Bankruptcy Code. If the requisite acceptances are not obtained, the Bankruptcy Court
 nonetheless may confirm the Plan if it finds that the Plan (i) provides fair and equitable treatment to, and does not
 unfairly discriminate against, each Class rejecting the Plan and (ii) otherwise satisfies the requirements of section
 1129(b) of the Bankruptcy Code. If the Plan is confirmed by the Bankruptcy Court, it will be binding on you
 whether or not you vote to accept or reject the Plan.

                                                     IMPORTANT

 Beneficial Holders for which you are the Nominee should review the Disclosure Statement and Plan before voting.
 Such Beneficial Holders may wish to seek legal advice concerning the Plan and the classification and treatment of
 their claim or claims under the Plan. Obligated Bond Group Claims have been placed in Class 3 under the Plan. If
 Beneficial Holders hold more than one Obligated Bond Group Claim, they will receive a Ballot for each claim they
 are entitled to vote.

 VOTING DEADLINE:           5:00 p.m. (prevailing Central Time) on ____________________.

 The voting record date has been set for ____________________.

 If a Master Ballot is not received by GCG, Inc. (the “Voting Agent”), on or before the Voting Deadline and such
 Voting Deadline is not extended, the vote will not count as an acceptance or rejection of the Plan.

 If the Plan is confirmed by the Bankruptcy Court, it will be binding on the Beneficial Holders for which you are the
 Nominee whether or not such holder votes.

 Copies of the Plan and Disclosure Statement are also on file with the Clerk of the Bankruptcy Court for the Northern
 District of Texas, and may be reviewed during the regular hours of the Bankruptcy Court or online through the
 Bankruptcy Court’s internet website at http://www.txnb.uscourts.gov.




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 This Master Ballot is not a letter of transmittal and may not be used for any purpose other than to cast votes to
 accept or reject the Plan.

                                           HOW TO VOTE
          COMPLETE A SEPARATE MASTER BALLOT FOR EACH CUSIP THAT YOU HAVE A CLIENT’S
          VOTE TO RECORD.
          COMPLETE ITEM 1, ITEM 2, ITEM 3 AND ITEM 4 BELOW, TO THE EXTENT APPLICABLE.
          REVIEW THE CERTIFICATIONS CONTAINED IN ITEM 4.
          SIGN THE MASTER BALLOT.
          RETURN THE MASTER BALLOT SO THAT IT IS RECEIVED ON OR BEFORE THE VOTING
          DEADLINE.
          EACH BENEFICIAL HOLDER MUST VOTE THE FULL AMOUNT ITS CLASS 3 CLAIM
          REPRESENTED BY THIS MASTER BALLOT EITHER TO ACCEPT OR TO REJECT THE PLAN
          AND MAY NOT SPLIT THE VOTE WITH RESPECT TO SUCH CLAIM.
          ANY BENEFICIAL BALLOT REPRESENTED BY THIS MASTER BALLOT THAT (A) DOES NOT
          INDICATE EITHER AN ACCEPTANCE OR A REJECTION OF THE PLAN, (B) INDICATES BOTH
          AN ACCEPTANCE AND A REJECTION OF THE PLAN OR (C) IS INCOMPLETE, ILLEGIBLE OR
          UNSIGNED, WILL NOT BE INCLUDED IN ANY CALCULATION OF VOTES WITH RESPECT TO
          THE PLAN.

 Item 1. Certification of Authority to Vote. The undersigned certifies that as of the Voting Deadline, the undersigned
 (check the applicable box below):

 □ Is a Nominee for the Beneficial Holders of the aggregate principal amounts of the Obligated Group Bond Claims
    listed in Item 2 below, or is the registered holder of such claims; or

 □ Is acting under a power of attorney or agency (a copy of which will be provided upon request) granted by a
   Nominee that is the registered holder of the aggregate principal amounts of the Obligated Group Bond Claims
   listed in Item 2 below; or

 □ Has been granted a proxy (an original of which is attached hereto) from a Nominee, or a Beneficial Holder, that is
   the registered holder of the aggregate principal amounts of the Obligated Group Bond Claims listed in Item 2
   below; and, accordingly, has full power and authority to vote to accept or reject the Plan on behalf of the
   Beneficial Holders of the Obligated Group Bond Claims listed in Item 2 below.




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 Item 2. Vote on Plan. The undersigned transmits the following votes and proxies of Beneficial Holders of the
 Obligated Group Bond Claims and (i) certifies that they are Beneficial Holders of such Obligated Group Bond
 Claims as of the Voting Record Date and (ii) have delivered to the undersigned, as Nominee, instructions casting
 such votes.

 Instructions: Please complete the following summary schedule for each separate CUSIP that you act as nominee.
 Additional schedules may be attached as necessary. YOU MUST USE A SEPARATE MASTER BALLOT FOR EACH
 CUSIP.

 CUSIP: _____________________________________________(Indicate the CUSIP as to which this Master Ballot
 pertains.)

                                               Principal Amount                             Principal Amount
                                               of Claims Voted to                           of Claims Voted to
     Customer Account Number(s)                ACCEPT the Plan                              REJECT the Plan
  1.                                   $                                     OR     $
  2.                                   $                                     OR     $
  3.                                   $                                     OR     $
  4.                                   $                                     OR     $
  5.                                   $                                     OR     $
  6.                                   $                                     OR     $
  7.                                   $                                     OR     $
  8.                                   $                                     OR     $
  9.                                   $                                     OR     $
  10.                                  $                                     OR     $
  TOTALS                               $                                            $
                                           Number of Holders:                           Number of Holders:


 Item 3. Certification as to Transcription of Information from Item 3 as to Other Class 3 Claims Ballots Voted
 Through Other Beneficial Holder Ballots. The undersigned certifies that the undersigned has transcribed in the
 following table the information, if any, provided by beneficial holders in Item 3 of the beneficial holder’s original
 Beneficial Ballot, identifying any Class 3 Claims for which such beneficial holders have submitted other Beneficial
 Ballots other than to the undersigned. (use additional sheets if necessary).

       YOUR Customer Account            Record Holder           Name of Holder         CUSIP            Principal
      Number for Each Beneficial      Customer Account          or Nominee of        Number of         Amount of
      Holder Who Completed Item       Number(s) of Other         Other Class 3      Other Class 3     Other Class 3
       3 of the Beneficial Ballot      Class 3 Claims            Claims Voted       Claims Voted      Claims Voted
 1.
 2.
 3.
 4.
 5.




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 Item 4. Certification. By signing below, the Nominee hereby certifies that (i) the summary is a true and accurate
 schedule of the Beneficial Holders of the Series 1998A Bonds, Series 1999 Bonds, Series 2003A Bonds, Series
 2013A Bonds, Series 2013B Bonds, Series 2013C Bonds, and Series 2013D Bonds who have delivered Beneficial
 Holders Ballots to the undersigned Nominee; (ii) the undersigned Nominee is the holder, through a position held at a
 securities depository, or in street name, of the Series 1998A Bonds, Series 1999 Bonds, Series 2003A Bonds, Series
 2013A Bonds, Series 2013B Bonds, Series 2013C Bonds, or Series 2013D Bonds set forth above; (iii) the
 undersigned Nominee will retain the Beneficial Holder’s Ballots returned by the Beneficial Holder identified in
 Item 2 above for at least one year after the Voting Deadline for disclosure to the Bankruptcy Court, the Voting
 Agent, or any other appropriate party if so required, and (iv) each Beneficial Holder of the Obligated Group Bond
 Claims listed in Item 2 above has certified that it (a) is the holder of such Obligated Group Bond Claims and (b) has
 received a copy of the Disclosure Statement (including the exhibits thereto) and understands that the solicitation of
 votes for the Plan is subject to all of the terms and conditions set forth in the Disclosure Statement and the Plan.

 Name of Broker, Bank or Other Nominee: _________________________________________________________
                                                        (Print or Type)
 Name of Proxy Holder or Agent for Broker, Bank or Other Nominee (if applicable): _______________________
 Participant Number (if applicable): ______________________________________________________________
 Social Security or Federal Tax I.D. No.: __________________________________________________________
 Signature: __________________________________________________________________________________
 Print Name: _________________________________________________________________________________
 Title (if corporation, partnership or LLC): _________________________________________________________
 Street Address: ______________________________________________________________________________
 City, State, Zip Code: _________________________________________________________________________
 Telephone Number: __________________________________________________________________________
 Email Address: ______________________________________________________________________________
 Date Completed: ____________________________________________________________________________


                             This Master Ballot must be received by the Voting Agent at:

                                                 If by first class mail:
                                               SMR Case Administration
                                                     c/o GCG, Inc.
                                                   P.O. BOX 10078
                                                Dublin, OH 43017-6678

                                         If by hand delivery or overnight mail:
                                               SMR Case Administration
                                                     c/o GCG, Inc.
                                             5151 Blazer Parkway, Suite A
                                                Dublin, OH 43017-6678

 by the Voting Deadline, ________________ at 5:00 P.M. (prevailing Central Time), or the votes contained herein
 will not be counted.

 Master Ballots will not be accepted by facsimile or other electronic delivery.

 For any questions contact the Voting Agent at (844) 322-8219.




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                                    HOW TO COMPLETE THE MASTER BALLOT

         The Order approving the Disclosure Statement contains procedures that govern voting and the tabulation of
 this Master Ballot (the “Voting and Tabulation Procedures”). The Voting and Tabulation Procedures are
 incorporated herein by reference and should be read in conjunction with completing this Master Ballot.

         The Voting Record Date is ________________. The Voting Record Date is the date for purposes of
 determining those holders of Claims that are entitled to vote to accept or reject the Plan.

          The Voting Deadline is 5:00 p.m., prevailing Central Time, on ________________. Please complete, sign
 and date this Master Ballot, as indicated below, and return it to the Voting Agent, GCG, Inc., at the following
 address:

     If by first class mail:                                      If by hand delivery or overnight mail:
     SMR Case Administration                                      SMR Case Administration
     c/o GCG, Inc.                                                c/o GCG, Inc.
     P.O. BOX 10078                                               5151 Blazer Parkway, Suite A
     Dublin, OH 43017-6678                                        Dublin, OH 43017-6678


 IF THIS MASTER BALLOT IS NOT ACTUALLY RECEIVED BY 5:00 P.M., PREVAILING CENTRAL TIME,
 ON ______________, IT WILL NOT BE COUNTED. MASTER BALLOTS TRANSMITTED BY FACSIMILE,
 TELECOPY TRANSMISSION OR ELECTRONIC MAIL WILL NOT BE ACCEPTED AND WILL NOT BE
 COUNTED AS VOTES TO ACCEPT OR REJECT THE PLAN.

           If you are transmitting the votes of any Beneficial Holders, other than yourself,1 you may either:


                    1.       “Prevalidate” the individual Beneficial Ballot contained in the solicitation package and
                             then forward the solicitation package with such prevalidated Ballot to the beneficial
                             holder of the Obligated Group Bond Claims for voting within five (5) business days after
                             receipt of the solicitation package, with the beneficial holder then returning its individual
                             Beneficial Ballot directly to the Voting Agent in the return envelope provided in the
                             solicitation package. A Voting Nominee “prevalidates” a Beneficial Ballot by
                             completing Item 1, and fully executing Item 4, and indicating thereon the appropriate
                             account numbers through which the beneficial holder’s holdings are derived and the
                             depository participant number of the Voting Nominee.

                                                                     OR

                    2.       Forward the solicitation package to the beneficial holder of the Obligated Group Bond
                             Claims for voting along with a return envelope provided by and addressed to you, with
                             the beneficial holder then returning the individual Beneficial Ballot to you. In such case,
                             you, as the Voting Nominee, will tabulate the votes of all of your respective beneficial
                             holders on this Master Ballot, in accordance with these instructions, and then return the
                             Master Ballot to the Voting Agent. You should advise your beneficial holders to return
                             their individual Beneficial Ballots to you by a date calculated to allow you to prepare and
                             return the Master Ballot to the Voting Agent so that the Master Ballot is actually received
                             by the Voting Agent by the Voting Deadline.

           With respect to those Ballots returned to you, you must properly complete the Master Ballot, as follows:


 1
  If you are both the registered holder and Beneficial Holder, you may use either a Master Ballot and Ballot or a prevalidated
 Ballot for the appropriate security to cast your vote.



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         a.        check the appropriate box in Item 1 on the Master Ballot;

         b.        in Item 2 of this Master Ballot, indicate the votes to accept or reject the Plan, as transmitted to you
                   by the Beneficial Holders. To identify such Beneficial Holders without disclosing their names,
                   please use the customer account number assigned by you to each such Beneficial Holder, or if no
                   such customer account number exists, please assign a number to each account (making sure to
                   retain a separate list of each Beneficial Holder and the assigned number). IMPORTANT:
                   BENEFICIAL HOLDERS MAY NOT SPLIT THEIR VOTES. EACH BENEFICIAL HOLDER
                   MUST VOTE ALL OF HIS, HER, OR ITS OBLIGATED GROUP BOND CLAIMS EITHER TO
                   ACCEPT OR REJECT THE PLAN. IF ANY BENEFICIAL HOLDER HAS ATTEMPTED TO
                   SPLIT SUCH VOTE, PLEASE CONTACT THE SOLICITATION AND TABULATION
                   AGENT IMMEDIATELY. Any Ballot or Master Ballot which is validly executed but (i) which
                   does not indicate acceptance or rejection of the Plan by the indicated Beneficial Holder, or
                   (ii) indicates both an acceptance and rejection of the Plan by the indicated Beneficial Holder, will
                   not be counted;

         c.        Carefully review the authorization in Item 3 of the Master Ballot and transcribe any information
                   required;

         d.        Sign and date the Master Ballot, and provide the remaining information requested;

         e.        If additional space is required to respond to any item on the Master Ballot, please use additional
                   sheets of paper clearly marked to indicate the applicable Item of the Master Ballot to which you
                   are responding;

         f.        Contact the Voting Agent to arrange for delivery of the completed Master Ballot to its offices; and

         g.        Deliver the completed, executed Master Ballot so as to be actually received by the Voting Agent
                   before the Voting Deadline. For each completed, executed Ballot returned to you by a Beneficial
                   Holder, either forward such Ballot (along with your Master Ballot) to the Voting Agent or retain
                   such Ballot in your files for at least one year after the Voting Deadline.




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           No person has been authorized to give any information or advice, or to make any representation,
 other than what is contained in the Disclosure Statement for Debtors’ Joint Plan of Reorganization Under Chapter 11
                                                of the Bankruptcy Code.
                   SEARS TYLER METHODIST RETIREMENT CORPORATION

                   BENEFICIAL HOLDER BALLOT FOR ACCEPTING OR REJECTING THE
                          PLAN DEBTORS’ JOINT PLAN OF REORGANIZATION
                        PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

             THIS BALLOT IS EXCLUSIVELY FOR THE USE BY BENEFICIAL HOLDERS OF
                               CLASS 3 – TYLER BOND CLAIMS



          This ballot (“Ballot”) is being sent to all beneficial holders of the Series 2009A Bonds, Series 2009B
 Bonds, Series 2011A Bonds, or Series 2011B Bonds (collectively, the “Beneficial Holders”) for use in voting to
 accept or reject the Plan Debtors’ Joint Plan of Reorganization Pursuant to Chapter 11 of the Bankruptcy Code,
 dated December 6, 2014 (as it may be amended, modified, or supplemented from time to time, the “Plan”) and in
 connection with the Disclosure Statement for the Plan, dated December 6, 2014 (as it may be amended, modified, or
 supplemented from time to time, the “Disclosure Statement”), copies of which accompany this Ballot. All
 capitalized terms not defined herein shall have the meanings given to them in the Plan.

      You are receiving this Ballot because records maintained by your broker, dealer, commercial bank, trust
 company, or other nominee or intermediary (“Nominee”) indicate that you are a Beneficial Holder of a Claim
 arising under, related to or in connection with the Series 2009A Bonds, Series 2009B Bonds, Series 2011A Bonds,
 or Series 2011B Bonds. Accordingly, you have a right to vote to accept or reject the Plan.

           Your rights are described in the Disclosure Statement, which was included in the solicitation package you
 are receiving with this Ballot. This Ballot may not be used for any purpose other than casting votes to accept or
 reject the Plan and making certain certifications with respect to the Series 2009A Bonds, Series 2009B Bonds, Series
 2011A Bonds, or Series 2011B Bonds. The Bankruptcy Court can confirm the Plan and bind you, whether or not
 you vote, if it is accepted by the holders of two-thirds in dollar amount of Claims and Interests, and in the case of a
 Class of Claims, more than one-half in number of Claims, that vote on the Plan in each voting class, and if it
 otherwise satisfies the requirements of section 1129 of the Bankruptcy Code. If the requisite acceptances are not
 obtained, the Bankruptcy Court nonetheless may confirm the Plan if it finds that the Plan (i) provides fair and
 equitable treatment to, and does not unfairly discriminate against, each Class rejecting the Plan and (ii) otherwise
 satisfies the requirements of section 1129(b) of the Bankruptcy Code. If the Plan is confirmed by the Bankruptcy
 Court, it will be binding on you whether or not you vote to accept or reject the Plan.

          If you have any questions regarding this Ballot or the procedures to vote with respect to the Plan, please
 contact the voting agent, GCG, Inc. (the “Voting Agent”) at (844) 322-8219.

                                                     IMPORTANT

 You should review the Disclosure Statement and Plan before voting. You may wish to seek legal advice concerning
 the Plan and the classification and treatment of your claim or other claims under the Plan. Tyler Bond Claims have
 been placed in Class 3 under the Plan. If you hold more than one Tyler Bond Claim, you will receive a Ballot for
 each claim you are entitled to vote.




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 VOTING DEADLINE:           5:00 p.m. (prevailing Central Time) on _____________.

 The voting record date has been set for ________________.

 Most Beneficial Holders will submit votes to accept or reject the Plan by completing a Ballot and returning it to their
 Nominee, who will then prepare and submit a master ballot (a “Master Ballot”). You may have received specific
 instructions from your Nominee for use in returning completed Ballots. Please follow the instructions provided by
 your Nominee and return your Ballot in sufficient time for your Nominee to complete and submit the Master Ballot
 so that is received on or before the Voting Deadline. If a Master Ballot is not received by the Voting Agent, on or
 before the Voting Deadline and such Voting Deadline is not extended, the vote will not count as an acceptance or
 rejection of the Plan.

 If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether or not you vote on the Plan.

 Copies of the Plan and Disclosure Statement are on file with the Clerk of the Bankruptcy Court for the Northern
 District of Texas, and may be reviewed during the regular hours of the Bankruptcy Court or online through the
 Bankruptcy Court’s internet website at http://www.txnb.uscourts.gov.

 A person signing a Ballot in capacity as a trustee, executor, administrator, guardian, attorney in fact, officer of a
 corporation, or otherwise acting in a fiduciary or representative capacity should indicate such capacity when signing
 and, if requested, must submit proper evidence to the requesting party of authorization to sign.



 Item 1. Principal Amount of Series 2009A Bonds, Series 2009B Bonds, Series 2011A Bonds, or Series 2011B
 Bonds.

 The undersigned hereby certifies that the undersigned is the Beneficial Holder (or authorized signatory for a
 Beneficial Holder), or the Nominee of a Beneficial Holder, of Series 2009A Bonds, Series 2009B Bonds, Series
 2011A Bonds, or Series 2011B Bonds in the CUSIP indicated by your nominee in the following principal amount:

 *(If an amount has not been provided by your bank, broker, nominee or other intermediary on a label below, please
 insert amount in box below. If your Series 2009A Bonds, Series 2009B Bonds, Series 2011A Bonds, or Series
 2011B Bonds are held by a Nominee on your behalf and you do not know the amount of Series 2009A Bonds, Series
 2009B Bonds, Series 2011A Bonds, or Series 2011B Bonds held or the amount provided on the label is incorrect,
 please contact your Nominee immediately.)




                                Amount Held: $__________________




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 Item 2.    Accepting or Rejecting the Plan Debtors’ Joint Plan of Reorganization Pursuant to Chapter 11 of the
            Bankruptcy Code.

 The undersigned acknowledge(s) receipt of the Plan and Disclosure Statement. Please note that the Plan
 contemplates separate classes of creditors for voting and distribution purposes. You may not split your vote. You
 must vote all of the Series 2009A Bonds, Series 2009B Bonds, Series 2011A Bonds, or Series 2011B Bonds you
 hold to either accept or to reject the Plan.

 A vote to accept the Plan constitutes your consent to the releases, injunctions and exculpation provisions specified in
 the Plan.

 Any Tyler Bond Claim represented by this Ballot that (a) does not indicate either an acceptance or a rejection of the
 Plan, (b) indicates both an acceptance and a rejection of the Plan or (c) is incomplete, illegible or unsigned, will not
 be included in any calculation of votes with respect to the Plan.

 The undersigned:       ☐ ACCEPTS (votes FOR) the Plan.
                        ☐ REJECTS (votes AGAINST) the Plan.
 Item 3. Certification Regarding Votes Cast on Other Ballots in Respect of the Class 3 – Tyler Bond Claims.

 If the Beneficial Holder(s) on behalf of which this Ballot is being cast has (have) cast other Ballots on account of
 being a Beneficial Holder of Class 3 Claims, the undersigned certifies (certify) that the requisite information
 regarding such other Ballots has been included in the tables below (or on additional sheets attached hereto). Only
 information relating to such other Ballots cast by Beneficial Holder(s) on account of being a Beneficial Holder of
 Class 3 Claims should be identified in this Item 3.

                              Other Class 3 Claims Ballots Cast By Beneficial Holder
           Record Holder Customer        Name of Holder or             CUSIP Number of           Principal Amount of
            Account Number(s) of       Nominee of Other Class 3       Other Class 3 Claims       Other Class 3 Claims
            Other Class 3 Claims           Claims Voted                      Voted                      Voted
 1.
 2.
 3.
 4.
 5.




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 Item 4. Certification

 By returning this Ballot, the undersigned certifies that it is the Beneficial Holder (or is the authorized signatory and
 has full power and authority to vote for the Beneficial Holder) of such Series 2009A Bonds, Series 2009B Bonds,
 Series 2011A Bonds, or Series 2011B Bonds described in Item 1 above to which this Ballot pertains and is sending
 this Ballot to its bank, broker, nominee or other intermediary with respect to the Series 2009A Bonds, Series 2009B
 Bonds, Series 2011A Bonds, or Series 2011B Bonds, and authorizes and instructs such entity to submit a Master
 Ballot to the Voting Agent.



 Name of Holder: ________________________________________________________________
                                              (Print or Type)
 Social Security or Federal Tax I.D. No.: _____________________________________________
 Bank or Broker with Custody of My Series 2009A Bonds, Series 2009B Bonds, Series 2011A Bonds, or
 Series 2011B Bonds (Optional):
 ______________________________________________________________________
 Bank/Broker DTC Number (Optional): ______________________________________________
 Signature: _____________________________________________________________________
 Print Name: ____________________________________________________________________
 Title (if corporation, partnership or LLC): ____________________________________________
 Street Address: _________________________________________________________________
 City, State, Zip Code: ____________________________________________________________
 Telephone Number: _____________________________________________________________
 Email Address (Optional): ________________________________________________________
 Date Completed: _______________________________________________________________

 IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE PROCEDURES TO VOTE WITH
 RESPECT TO THE PLAN OR YOU WOULD LIKE ADDITIONAL COPIES OF THE DISCLOSURE
 STATEMENT, PLEASE CALL THE VOTING AGENT, GCG, INC. AT (844) 322-8219.
                                                 VOTING DEADLINE

 THE VOTING DEADLINE IS _______________ AT 5:00 P.M. (PREVAILING CENTRAL TIME).

 PLEASE USE THE RETURN ENVELOPE PROVIDED. UNLESS OTHERWISE DIRECTED, THIS BALLOT
 MUST BE RETURNED TO YOUR BANK, BROKER, NOMINEE OR OTHER INTERMEDIARY WITH
 SUFFICIENT TIME TO PERMIT THE MASTER BALLOTS TO BE RETURNED TO THE VOTING AGENT
 PRIOR TO THE VOTING DEADLINE.




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                                       HOW TO COMPLETE THIS BALLOT

          The Order approving the Disclosure Statement contains procedures that govern voting and the tabulation of
 this Beneficial Holder Ballot (the “Voting and Tabulation Procedures”). The Voting and Tabulation Procedures are
 incorporated herein by reference and should be read in conjunction with completing this Beneficial Holder Ballot.

         The Voting Record Date is ________________. The Voting Record Date is the date for purposes of
 determining those holders of Claims that are entitled to vote to accept or reject the Plan.

         The Voting Deadline is 5:00 p.m., prevailing Central Time, on _______________. Please complete, sign
 and date this Beneficial Holder Ballot, as indicated below, and return it in the envelope provided. IF YOU
 RECEIVED A RETURN ENVELOPE ADDRESSED TO YOUR NOMINEE, YOU MAY RETURN YOUR
 BALLOT USING THE ENVELOPE PROVIDED. PLEASE ALLOW SUFFICIENT TIME FOR YOUR
 NOMINEE TO PROCESS YOUR VOTE ON A MASTER BALLOT BEFORE THE VOTING DEADLINE.
 BENEFICIAL HOLDER BALLOTS TRANSMITTED BY FACSIMILE, TELECOPY TRANSMISSION OR
 ELECTRONIC MAIL WILL NOT BE ACCEPTED AND WILL NOT BE COUNTED AS VOTES TO ACCEPT
 OR REJECT THE PLAN.

         To properly complete the Beneficial Holder Ballot, you must follow the procedures described below:

              1.   make sure that the information contained in Item 1 is correct;


              2.   if you have one or more Tyler Bond Claims, cast one vote to accept or reject the Plan with respect
                   to all such Tyler Bond Claims by checking the appropriate box in Item 2;


              3.   if applicable to you, provide the information required by Item 3;


              4.   review the certifications and acknowledgments in Item 4;


              5.   sign and date this Beneficial Holder Ballot;


              6.   if you are completing and/or signing this Beneficial Holder Ballot on behalf of another person or
                   entity, indicate your relationship with such person or entity and the capacity in which you are
                   signing. The Plan Debtors may at their discretion require you to submit satisfactory evidence of
                   your authority to so act (e.g., a power of attorney or a certified copy of board resolutions
                   authorizing you to so act); and


              7.   return your Beneficial Holder Ballot as noted above.




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                                                    EXHIBIT A
 Your Nominee may have checked a box below to indicate the securities to which this Beneficial Holder Ballot
 pertains, or otherwise provided that information to you on a label or schedule attached to the Beneficial Holder
 Ballot.



               CUSIP                                CUSIP                                  CUSIP




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           No person has been authorized to give any information or advice, or to make any representation,
 other than what is contained in the Disclosure Statement for Debtors’ Joint Plan of Reorganization Under Chapter 11
                                                of the Bankruptcy Code.
                   SEARS TYLER METHODIST RETIREMENT CORPORATION

                        MASTER BALLOT FOR ACCEPTING OR REJECTING THE
                          PLAN DEBTORS’ JOINT PLAN OF REORGANIZATION
                        PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

   THIS BALLOT IS EXCLUSIVELY FOR THE USE BY NOMINEES OF BENEFICIAL HOLDERS OF
                           CLASS 3 – TYLER BOND CLAIMS

          This master ballot (the “Master Ballot”) is to be used by you, as a bank, broker, nominee or other
 intermediary (each of the foregoing, a “Nominee”), for beneficial holders of the Series 2009A Bonds, Series 2009B
 Bonds, Series 2011A Bonds, or Series 2011B Bonds (collectively, the “Beneficial Holders”). This Master Ballot is
 being sent to Nominees for such Nominees to cast votes to accept or reject the Plan Debtors’ Joint Plan of
 Reorganization Pursuant to Chapter 11 of the Bankruptcy Code, dated December 6, 2014 (as it may be amended,
 modified, or supplemented from time to time, the “Plan”) on behalf of and in accordance with the voting instructions
 cast by the Beneficial Holders. The Plan is attached to the Disclosure Statement for the Plan, dated December 6,
 2014 (the “Disclosure Statement”), which accompanies this Master Ballot.

          The Bankruptcy Court can confirm the Plan and bind you, whether or not you vote, if it is accepted by the
 holders of two-thirds in dollar amount of Claims and Interests, and in the case of a Class of Claims, more than one-
 half in number of Claims, that vote on the Plan in each voting class, and if it otherwise satisfies the requirements of
 section 1129 of the Bankruptcy Code. If the requisite acceptances are not obtained, the Bankruptcy Court
 nonetheless may confirm the Plan if it finds that the Plan (i) provides fair and equitable treatment to, and does not
 unfairly discriminate against, each Class rejecting the Plan and (ii) otherwise satisfies the requirements of section
 1129(b) of the Bankruptcy Code. If the Plan is confirmed by the Bankruptcy Court, it will be binding on you
 whether or not you vote to accept or reject the Plan.

                                                     IMPORTANT

 Beneficial Holders for which you are the Nominee should review the Disclosure Statement and Plan before voting.
 Such Beneficial Holders may wish to seek legal advice concerning the Plan and the classification and treatment of
 their claim or claims under the Plan. Tyler Bond Claims have been placed in Class 3 under the Plan. If Beneficial
 Holders hold more than one Tyler Bond Claim, they will receive a Ballot for each claim they are entitled to vote.

 VOTING DEADLINE:           5:00 p.m. (prevailing Central Time) on ____________________.

 The voting record date has been set for ____________________.

 If a Master Ballot is not received by GCG, Inc. (the “Voting Agent”), on or before the Voting Deadline and such
 Voting Deadline is not extended, the vote will not count as an acceptance or rejection of the Plan.

 If the Plan is confirmed by the Bankruptcy Court, it will be binding on the Beneficial Holders for which you are the
 Nominee whether or not such holder votes.

 Copies of the Plan and Disclosure Statement are also on file with the Clerk of the Bankruptcy Court for the Northern
 District of Texas, and may be reviewed during the regular hours of the Bankruptcy Court or online through the
 Bankruptcy Court’s internet website at http://www.txnb.uscourts.gov.

 This Master Ballot is not a letter of transmittal and may not be used for any purpose other than to cast votes to
 accept or reject the Plan.

                                                      HOW TO VOTE


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          COMPLETE A SEPARATE MASTER BALLOT FOR EACH CUSIP THAT YOU HAVE A CLIENT’S
          VOTE TO RECORD.
          COMPLETE ITEM 1, ITEM 2, ITEM 3 AND ITEM 4 BELOW, TO THE EXTENT APPLICABLE.
          REVIEW THE CERTIFICATIONS CONTAINED IN ITEM 4.
          SIGN THE MASTER BALLOT.
          RETURN THE MASTER BALLOT SO THAT IT IS RECEIVED ON OR BEFORE THE VOTING
          DEADLINE.
          EACH BENEFICIAL HOLDER MUST VOTE THE FULL AMOUNT ITS CLASS 3 CLAIM
          REPRESENTED BY THIS MASTER BALLOT EITHER TO ACCEPT OR TO REJECT THE PLAN
          AND MAY NOT SPLIT THE VOTE WITH RESPECT TO SUCH CLAIM.
          ANY BENEFICIAL BALLOT REPRESENTED BY THIS MASTER BALLOT THAT (A) DOES NOT
          INDICATE EITHER AN ACCEPTANCE OR A REJECTION OF THE PLAN, (B) INDICATES BOTH
          AN ACCEPTANCE AND A REJECTION OF THE PLAN OR (C) IS INCOMPLETE, ILLEGIBLE OR
          UNSIGNED, WILL NOT BE INCLUDED IN ANY CALCULATION OF VOTES WITH RESPECT TO
          THE PLAN.

 Item 1. Certification of Authority to Vote. The undersigned certifies that as of the Voting Deadline, the undersigned
 (check the applicable box below):

 □ Is a Nominee for the Beneficial Holders of the aggregate principal amounts of the Tyler Bond Claims listed in
   Item 2 below, or is the registered holder of such claims; or

 □ Is acting under a power of attorney or agency (a copy of which will be provided upon request) granted by a
   Nominee that is the registered holder of the aggregate principal amounts of the Tyler Bond Claims listed in
   Item 2 below; or

 □ Has been granted a proxy (an original of which is attached hereto) from a Nominee, or a Beneficial Holder, that is
   the registered holder of the aggregate principal amounts of the Tyler Bond Claims listed in Item 2 below; and,
   accordingly, has full power and authority to vote to accept or reject the Plan on behalf of the Beneficial Holders
   of the Tyler Bond Claims listed in Item 2 below.




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 Item 2. Vote on Plan. The undersigned transmits the following votes and proxies of Beneficial Holders of the Tyler
 Bond Claims and (i) certifies that they are Beneficial Holders of such Tyler Bond Claims as of the Voting Record
 Date and (ii) have delivered to the undersigned, as Nominee, instructions casting such votes.

 Instructions: Please complete the following summary schedule for each separate CUSIP that you act as nominee.
 Additional schedules may be attached as necessary. YOU MUST USE A SEPARATE MASTER BALLOT FOR EACH
 CUSIP.


 CUSIP: ___________(Insert CUSIP as to which this Master Ballot pertains.)


                                                Principal Amount                             Principal Amount
                                                of Claims Voted to                           of Claims Voted to
     Customer Account Number(s)                 ACCEPT the Plan                              REJECT the Plan
  1.                                    $                                     OR     $
  2.                                    $                                     OR     $
  3.                                    $                                     OR     $
  4.                                    $                                     OR     $
  5.                                    $                                     OR     $
  6.                                    $                                     OR     $
  7.                                    $                                     OR     $
  TOTALS                                $                                            $
                                            Number of Holders:                           Number of Holders:

 Item 3. Certification as to Transcription of Information from Item 3 as to Other Class 3 Claims Ballots Voted
 Through Other Beneficial Holder Ballots. The undersigned certifies that the undersigned has transcribed in the
 following table the information, if any, provided by beneficial holders in Item 3 of the beneficial holder’s original
 Beneficial Ballot, identifying any Class 3 Claims for which such beneficial holders have submitted other Beneficial
 Ballots other than to the undersigned. (use additional sheets if necessary).

       YOUR Customer Account             Record Holder           Name of Holder         CUSIP             Principal
      Number for Each Beneficial       Customer Account          or Nominee of        Number of          Amount of
      Holder Who Completed Item        Number(s) of Other         Other Class 4      Other Class 4      Other Class 4
       3 of the Beneficial Ballot       Class 4 Claims            Claims Voted       Claims Voted       Claims Voted
 1.
 2.
 3.
 4.
 5.

 Item 4. Certification. By signing below, the Nominee hereby certifies that (i) the summary is a true and accurate
 schedule of the Beneficial Holders of the Series 2009A Bonds, Series 2009B Bonds, Series 2011A Bonds, and
 Series 2011B Bonds who have delivered Beneficial Holders Ballots to the undersigned Nominee; (ii) the
 undersigned Nominee is the holder, through a position held at a securities depository, or in street name, of the Series
 2009A Bonds, Series 2009B Bonds, Series 2011A Bonds, or Series 2011B Bonds set forth above; (iii) the
 undersigned Nominee will retain the Beneficial Holder’s Ballots returned by the Beneficial Holder identified in
 Item 2 above for at least one year after the Voting Deadline for disclosure to the Bankruptcy Court, the Voting
 Agent, or any other appropriate party if so required, and (iv) each Beneficial Holder of the Tyler Bond Claims listed
 in Item 2 above has certified that it (a) is the holder of such Tyler Bond Claims and (b) has received a copy of the
 Disclosure Statement (including the exhibits thereto) and understands that the solicitation of votes for the Plan is
 subject to all of the terms and conditions set forth in the Disclosure Statement and the Plan.

 Name of Broker, Bank or Other Nominee: _________________________________________________________



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                                                                  (Print or Type)
 Name of Proxy Holder or Agent for Broker, Bank or Other Nominee (if applicable): _______________________
 Participant Number (if applicable): ______________________________________________________________
 Social Security or Federal Tax I.D. No.: __________________________________________________________

 Signature: __________________________________________________________________________________
 Print Name: _________________________________________________________________________________
 Title (if corporation, partnership or LLC): _________________________________________________________
 Street Address: ______________________________________________________________________________
 City, State, Zip Code: _________________________________________________________________________
 Telephone Number: __________________________________________________________________________
 Email Address: ______________________________________________________________________________
 Date Completed: ____________________________________________________________________________



                             This Master Ballot must be received by the Voting Agent at:

                                                 If by first class mail:
                                               SMR Case Administration
                                                     c/o GCG, Inc.
                                                   P.O. BOX 10078
                                                Dublin, OH 43017-6678

                                         If by hand delivery or overnight mail:
                                               SMR Case Administration
                                                     c/o GCG, Inc.
                                             5151 Blazer Parkway, Suite A
                                                Dublin, OH 43017-6678

 by the Voting Deadline, _____________ at 5:00 P.M. (prevailing Central Time), or the votes contained herein will
 not be counted.

 Master Ballots will not be accepted by facsimile or other electronic delivery.

 For any questions contact the Voting Agent at (844) 322-8219.




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                                 HOW TO COMPLETE THE MASTER BALLOT

         The Order approving the Disclosure Statement contains procedures that govern voting and the tabulation of
 this Master Ballot (the “Voting and Tabulation Procedures”). The Voting and Tabulation Procedures are
 incorporated herein by reference and should be read in conjunction with completing this Master Ballot.

         The Voting Record Date is ________________. The Voting Record Date is the date for purposes of
 determining those holders of Claims that are entitled to vote to accept or reject the Plan.

          The Voting Deadline is 5:00 p.m., prevailing Central Time, on ________________. Please complete, sign
 and date this Master Ballot, as indicated below, and return it to the Voting Agent, GCG, Inc., at the following
 address:

     If by first class mail:                                      If by hand delivery or overnight mail:
     SMR Case Administration                                      SMR Case Administration
     c/o GCG, Inc.                                                c/o GCG, Inc.
     P.O. BOX 10078                                               5151 Blazer Parkway, Suite A
     Dublin, OH 43017-6678                                        Dublin, OH 43017-6678



 IF THIS MASTER BALLOT IS NOT ACTUALLY RECEIVED BY 5:00 P.M., PREVAILING CENTRAL TIME,
 ON ______________, IT WILL NOT BE COUNTED. MASTER BALLOTS TRANSMITTED BY FACSIMILE,
 TELECOPY TRANSMISSION OR ELECTRONIC MAIL WILL NOT BE ACCEPTED AND WILL NOT BE
 COUNTED AS VOTES TO ACCEPT OR REJECT THE PLAN.

           If you are transmitting the votes of any Beneficial Holders, other than yourself,1 you may either:


                    1.       “Prevalidate” the individual Beneficial Ballot contained in the solicitation package and
                             then forward the solicitation package with such prevalidated Ballot to the beneficial
                             holder of the Tyler Bond Claims for voting within five (5) business days after receipt of
                             the solicitation package, with the beneficial holder then returning its individual Beneficial
                             Ballot directly to the Voting Agent in the return envelope provided in the solicitation
                             package. A Voting Nominee “prevalidates” a Beneficial Ballot by completing Item 1,
                             and fully executing Item 4, and indicating thereon the appropriate account numbers
                             through which the beneficial holder’s holdings are derived and the depository participant
                             number of the Voting Nominee.

                                                                     OR

                    2.       Forward the solicitation package to the beneficial holder of the Tyler Bond Claims for
                             voting along with a return envelope provided by and addressed to you, with the beneficial
                             holder then returning the individual Beneficial Ballot to you. In such case, you, as the
                             Voting Nominee, will tabulate the votes of all of your respective beneficial holders on
                             this Master Ballot, in accordance with these instructions, and then return the Master
                             Ballot to the Voting Agent. You should advise your beneficial holders to return their
                             individual Beneficial Ballots to you by a date calculated to allow you to prepare and
                             return the Master Ballot to the Voting Agent so that the Master Ballot is actually received
                             by the Voting Agent by the Voting Deadline.

           With respect to those Ballots returned to you, you must properly complete the Master Ballot, as follows:

 1
  If you are both the registered holder and Beneficial Holder, you may use either a Master Ballot and Ballot or a prevalidated
 Ballot for the appropriate security to cast your vote.



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                   a.   check the appropriate box in Item 1 on the Master Ballot;

                   b.   in Item 2 of this Master Ballot, indicate the votes to accept or reject the Plan, as
                        transmitted to you by the Beneficial Holders. To identify such Beneficial Holders
                        without disclosing their names, please use the customer account number assigned by you
                        to each such Beneficial Holder, or if no such customer account number exists, please
                        assign a number to each account (making sure to retain a separate list of each Beneficial
                        Holder and the assigned number). IMPORTANT: BENEFICIAL HOLDERS MAY NOT
                        SPLIT THEIR VOTES. EACH BENEFICIAL HOLDER MUST VOTE ALL OF HIS,
                        HER, OR ITS TYLER BOND CLAIMS EITHER TO ACCEPT OR REJECT THE
                        PLAN. IF ANY BENEFICIAL HOLDER HAS ATTEMPTED TO SPLIT SUCH VOTE,
                        PLEASE CONTACT THE SOLICITATION AND TABULATION AGENT
                        IMMEDIATELY. Any Ballot or Master Ballot which is validly executed but (i) which
                        does not indicate acceptance or rejection of the Plan by the indicated Beneficial Holder,
                        or (ii) indicates both an acceptance and rejection of the Plan by the indicated Beneficial
                        Holder, will not be counted;

                   c.   Carefully review the authorization in Item 3 of the Master Ballot and transcribe any
                        information required;

                   d.   Sign and date the Master Ballot, and provide the remaining information requested;

                   e.   If additional space is required to respond to any item on the Master Ballot, please use
                        additional sheets of paper clearly marked to indicate the applicable Item of the Master
                        Ballot to which you are responding;

                   f.   Contact the Voting Agent to arrange for delivery of the completed Master Ballot to its
                        offices; and

                   g.   Deliver the completed, executed Master Ballot so as to be actually received by the Voting
                        Agent before the Voting Deadline. For each completed, executed Ballot returned to you
                        by a Beneficial Holder, either forward such Ballot (along with your Master Ballot) to the
                        Voting Agent or retain such Ballot in your files for at least one year after the Voting
                        Deadline.




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           No person has been authorized to give any information or advice, or to make any representation,
 other than what is contained in the Disclosure Statement for Debtors’ Joint Plan of Reorganization Under Chapter 11
                                                of the Bankruptcy Code.
                                      [APPLICABLE PLAN DEBTOR]

                            BALLOT FOR ACCEPTING OR REJECTING THE
                          PLAN DEBTORS’ JOINT PLAN OF REORGANIZATION
                        PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

                              THIS BALLOT IS EXCLUSIVELY FOR THE USE BY
                              HOLDERS OF CLASS [__] – DEFICIENCY CLAIMS

          This ballot (“Ballot”) is being sent to holders of Deficiency Claims (the “Holders”), for use in voting to
 accept or reject the Plan Debtors’ Joint Plan of Reorganization Pursuant to Chapter 11 of the Bankruptcy Code,
 dated December 6, 2014 (as it may be amended, modified, or supplemented from time to time, the “Plan”) and in
 connection with the Disclosure Statement for the Plan, dated December 6, 2014 (as it may be amended, modified, or
 supplemented from time to time, the “Disclosure Statement”), copies of which accompany this Ballot. All
 capitalized terms not defined herein shall have the meanings given to them in the Plan.

           Your rights are described in the Disclosure Statement, which was included in the solicitation package you
 are receiving with this Ballot. This Ballot may not be used for any purpose other than casting votes to accept or
 reject the Plan. The Bankruptcy Court can confirm the Plan and bind you, whether or not you vote, if it is accepted
 by the holders of two-thirds in dollar amount of Claims and Interests, and in the case of a Class of Claims, more than
 one-half in number of Claims, that vote on the Plan in each voting class, and if it otherwise satisfies the
 requirements of section 1129 of the Bankruptcy Code. If the requisite acceptances are not obtained, the Bankruptcy
 Court nonetheless may confirm the Plan if it finds that the Plan (i) provides fair and equitable treatment to, and does
 not unfairly discriminate against, each Class rejecting the Plan and (ii) otherwise satisfies the requirements of
 section 1129(b) of the Bankruptcy Code. If the Plan is confirmed by the Bankruptcy Court, it will be binding on you
 whether or not you vote to accept or reject the Plan.

          If you have any questions regarding this Ballot or the procedures to vote with respect to the Plan, please
 contact the voting agent, GCG, Inc. (the “Voting Agent”) at (844) 322-8219.

                                                    IMPORTANT
 You should review the Disclosure Statement and Plan before voting. You may wish to seek legal advice concerning
 the Plan and the classification and treatment of your claim or other claims under the Plan. Deficiency Claims have
 been placed in Class [__] under the Plan.
 VOTING DEADLINE:           5:00 p.m. (prevailing Central Time) on _________________.

 If a properly completed, originally signed Ballot is not received by the Voting Agent, on or before the Voting
 Deadline and such Voting Deadline is not extended, the vote will not count as an acceptance or rejection of the Plan.
 Please return your Ballot to:

                                                 If by first class mail:
                                               SMR Case Administration
                                                     c/o GCG, Inc.
                                                   P.O. BOX 10078
                                                Dublin, OH 43017-6678

                                         If by hand delivery or overnight mail:
                                               SMR Case Administration
                                                     c/o GCG, Inc.
                                             5151 Blazer Parkway, Suite A
                                                Dublin, OH 43017-6678


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 If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether or not you vote on the Plan.

 Copies of the Plan and Disclosure Statement are also on file with the Clerk of the Bankruptcy Court for the Northern
 District of Texas, and may be reviewed during the regular hours of the Bankruptcy Court or online through the
 Bankruptcy Court’s internet website at http://www.txnb.uscourts.gov.

 A person signing a Ballot in capacity as a trustee, executor, administrator, guardian, attorney in fact, officer of a
 corporation, or otherwise acting in a fiduciary or representative capacity should indicate such capacity when signing
 and, if requested, must submit proper evidence to the requesting party of authorization to sign.


 Item 1. Amount of Deficiency Claims

 The undersigned hereby certifies that the undersigned is the holder (or authorized signatory for the holder) of
 Deficiency Claims in the following aggregate amount:

 Amount of Claim(s): $_____________________


 Item 2.    Accepting or Rejecting the Plan Debtors’ Joint Plan of Reorganization Pursuant to Chapter 11 of the
            Bankruptcy Code

 The undersigned acknowledge(s) receipt of the Plan. Please note that the Plan contemplates separate classes of
 creditors for voting and distribution purposes. You may not split your vote. You must vote the entire claim that you
 hold to accept or to reject the Plan.

 A vote to accept the Plan constitutes your consent to the releases, injunctions, and exculpation provisions specified
 in the Plan.

 Any claim represented by this Ballot that (a) does not indicate either an acceptance or a rejection of the Plan,
 (b) indicates both an acceptance and a rejection of the Plan or (c) is incomplete, illegible or does not contain an
 original signature, will not be included in any calculation of votes with respect to the Plan.

 Holders may modify votes to accept or reject the Plan at any time prior to the Voting Deadline of ______________
 at 5:00 p.m. (prevailing Central Time).

 The undersigned:        ☐ ACCEPTS (votes FOR) the Plan.
                         ☐ REJECTS (votes AGAINST) the Plan.
 Item 3. Certification

 By returning this Ballot, the undersigned certifies that it is either (i) the holder (or is the authorized signatory and has
 full power and authority to vote for the holder) of the Deficiency Claims described in Item 1 above to which this
 Ballot pertains and (ii) has been provided with a copy of the Plan and Disclosure Statement and acknowledges that
 the vote set forth on this Ballot is subject to all the terms and conditions set forth in the Plan and Disclosure
 Statement.




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 Name of Holder: ________________________________________________________________

                                                (Print or Type)
 Social Security or Federal Tax I.D. No.: _____________________________________________
 Signature: _____________________________________________________________________
 Print Name: ____________________________________________________________________
 Title (if corporation, partnership or LLC): ____________________________________________
 Street Address: _________________________________________________________________
 City, State, Zip Code: ____________________________________________________________
 Telephone Number: _____________________________________________________________
 Email Address (Optional): ________________________________________________________
 Date Completed: _______________________________________________________________




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 IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE PROCEDURES TO VOTE WITH
 RESPECT TO THE PLAN OR YOU WOULD LIKE ADDITIONAL COPIES OF THE DISCLOSURE
 STATEMENT, PLEASE CALL THE VOTING AGENT, GCG, INC. AT (844) 322-8219.

                                                 VOTING DEADLINE

 This Ballot must be received by the Voting Agent at:

 If by regular mail:                                            If by messenger or overnight delivery:

 SMR Case Administration                                        SMR Case Administration
 c/o GCG, Inc.                                                  c/o GCG, Inc.
 P.O. Box 10078,                                                5151 Blazer Parkway, Suite A
 Dublin, OH 43017-6678                                          Dublin, Ohio 43017



 by the Voting Deadline, _____________ at 5:00 P.M. (prevailing Central Time), or the votes contained herein will
 not be counted.

 Ballots will not be accepted by facsimile or other electronic delivery.

 For any questions contact the Voting Agent at (844) 322-8219.


          To properly complete this Ballot, you must follow the procedures described below:

               1.   check one box in Item 2 to vote to accept or reject the Plan;

               2.   review the certifications and acknowledgments in Item 3;

               3.   sign and date this Ballot;

               4.   if you are completing and/or signing this Ballot on behalf of another person or entity, indicate your
                    relationship with such person or entity and the capacity in which you are signing and, at the Plan
                    Debtors’ discretion, you may be required to submit satisfactory evidence of your authority to so
                    act (e.g., a power of attorney or a certified copy of board resolutions authorizing you to so act);
                    and

               5.   return your Ballot as noted above.




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           No person has been authorized to give any information or advice, or to make any representation,
 other than what is contained in the Disclosure Statement for Debtors’ Joint Plan of Reorganization Under Chapter 11
                                                of the Bankruptcy Code.
                                      [APPLICABLE PLAN DEBTOR]

                            BALLOT FOR ACCEPTING OR REJECTING THE
                          PLAN DEBTORS’ JOINT PLAN OF REORGANIZATION
                        PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

                           THIS BALLOT IS EXCLUSIVELY FOR THE USE BY
                        HOLDERS OF CLASS [__] – GENERAL UNSECURED CLAIMS

          This ballot (“Ballot”) is being sent to holders of General Unsecured Claims (the “Holders”), for use in
 voting to accept or reject the Plan Debtors’ Joint Plan of Reorganization Pursuant to Chapter 11 of the Bankruptcy
 Code, dated December 6, 2014 (as it may be amended, modified, or supplemented from time to time, the “Plan”)
 and in connection with the Disclosure Statement for the Plan, dated December 6, 2014 (as it may be amended,
 modified, or supplemented from time to time, the “Disclosure Statement”), copies of which accompany this Ballot.
 All capitalized terms not defined herein shall have the meanings given to them in the Plan.

           Your rights are described in the Disclosure Statement, which was included in the solicitation package you
 are receiving with this Ballot. This Ballot may not be used for any purpose other than casting votes to accept or
 reject the Plan. The Bankruptcy Court can confirm the Plan and bind you, whether or not you vote, if it is accepted
 by the holders of two-thirds in dollar amount of Claims and Interests, and in the case of a Class of Claims, more than
 one-half in number of Claims, that vote on the Plan in each voting class, and if it otherwise satisfies the
 requirements of section 1129 of the Bankruptcy Code. If the requisite acceptances are not obtained, the Bankruptcy
 Court nonetheless may confirm the Plan if it finds that the Plan (i) provides fair and equitable treatment to, and does
 not unfairly discriminate against, each Class rejecting the Plan and (ii) otherwise satisfies the requirements of
 section 1129(b) of the Bankruptcy Code. If the Plan is confirmed by the Bankruptcy Court, it will be binding on you
 whether or not you vote to accept or reject the Plan.

          If you have any questions regarding this Ballot or the procedures to vote with respect to the Plan, please
 contact the voting agent, GCG, Inc. (the “Voting Agent”) at (844) 322-8219.

                                                   IMPORTANT
 You should review the Disclosure Statement and Plan before voting. You may wish to seek legal advice concerning
 the Plan and the classification and treatment of your claim or other claims under the Plan. General Unsecured
 Claims have been placed in Class [__] under the Plan.
 VOTING DEADLINE:           5:00 p.m. (prevailing Central Time) on _________________.

 If a properly completed, originally signed Ballot is not received by the Voting Agent, on or before the Voting
 Deadline and such Voting Deadline is not extended, the vote will not count as an acceptance or rejection of the Plan.
 Please return your Ballot to:

                                                 If by first class mail:
                                               SMR Case Administration
                                                     c/o GCG, Inc.
                                                   P.O. BOX 10078
                                                Dublin, OH 43017-6678

                                         If by hand delivery or overnight mail:
                                               SMR Case Administration
                                                     c/o GCG, Inc.
                                             5151 Blazer Parkway, Suite A
                                                Dublin, OH 43017-6678


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 If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether or not you vote on the Plan.

 Copies of the Plan and Disclosure Statement are also on file with the Clerk of the Bankruptcy Court for the Northern
 District of Texas, and may be reviewed during the regular hours of the Bankruptcy Court or online through the
 Bankruptcy Court’s internet website at http://www.txnb.uscourts.gov.

 A person signing a Ballot in capacity as a trustee, executor, administrator, guardian, attorney in fact, officer of a
 corporation, or otherwise acting in a fiduciary or representative capacity should indicate such capacity when signing
 and, if requested, must submit proper evidence to the requesting party of authorization to sign.


 Item 1. Amount of General Unsecured Claims

 The undersigned hereby certifies that the undersigned is the holder (or authorized signatory for the holder) of
 General Unsecured Claims in the following aggregate amount:

 Amount of Claim(s): $_____________________


 Item 2.    Accepting or Rejecting the Plan Debtors’ Joint Plan of Reorganization Pursuant to Chapter 11 of the
            Bankruptcy Code

 The undersigned acknowledge(s) receipt of the Plan. Please note that the Plan contemplates separate classes of
 creditors for voting and distribution purposes. You may not split your vote. You must vote the entire claim that you
 hold to accept or to reject the Plan.

 A vote to accept the Plan constitutes your consent to the releases, injunctions, and exculpation provisions specified
 in the Plan.

 Any claim represented by this Ballot that (a) does not indicate either an acceptance or a rejection of the Plan,
 (b) indicates both an acceptance and a rejection of the Plan or (c) is incomplete, illegible or does not contain an
 original signature, will not be included in any calculation of votes with respect to the Plan.

 Holders may modify votes to accept or reject the Plan at any time prior to the Voting Deadline of ______________
 at 5:00 p.m. (prevailing Central Time).

 The undersigned:        ☐ ACCEPTS (votes FOR) the Plan.
                         ☐ REJECTS (votes AGAINST) the Plan.
 Item 3. Certification

 By returning this Ballot, the undersigned certifies that it is either (i) the holder (or is the authorized signatory and has
 full power and authority to vote for the holder) of the General Unsecured Claims described in Item 1 above to which
 this Ballot pertains and (ii) has been provided with a copy of the Plan and Disclosure Statement and acknowledges
 that the vote set forth on this Ballot is subject to all the terms and conditions set forth in the Plan and Disclosure
 Statement.




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 Name of Holder: ________________________________________________________________

                                                (Print or Type)
 Social Security or Federal Tax I.D. No.: _____________________________________________
 Signature: _____________________________________________________________________
 Print Name: ____________________________________________________________________
 Title (if corporation, partnership or LLC): ____________________________________________
 Street Address: _________________________________________________________________
 City, State, Zip Code: ____________________________________________________________
 Telephone Number: _____________________________________________________________
 Email Address (Optional): ________________________________________________________
 Date Completed: _______________________________________________________________




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 IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE PROCEDURES TO VOTE WITH
 RESPECT TO THE PLAN OR YOU WOULD LIKE ADDITIONAL COPIES OF THE DISCLOSURE
 STATEMENT, PLEASE CALL THE VOTING AGENT, GCG, INC. (844) 322-8219.

                                                 VOTING DEADLINE

 This Ballot must be received by the Voting Agent at:

 If by regular mail:                                            If by messenger or overnight delivery:

 SMR Case Administration                                        SMR Case Administration
 c/o GCG, Inc.                                                  c/o GCG, Inc.
 P.O. Box 10078,                                                5151 Blazer Parkway, Suite A
 Dublin, OH 43017-6678                                          Dublin, Ohio 43017



 by the Voting Deadline, _____________ at 5:00 P.M. (prevailing Central Time), or the votes contained herein will
 not be counted.

 Ballots will not be accepted by facsimile or other electronic delivery.

 For any questions contact the Voting Agent at (844) 322-8219.


          To properly complete this Ballot, you must follow the procedures described below:

               1.   check one box in Item 2 to vote to accept or reject the Plan;

               2.   review the certifications and acknowledgments in Item 3;

               3.   sign and date this Ballot;

               4.   if you are completing and/or signing this Ballot on behalf of another person or entity, indicate your
                    relationship with such person or entity and the capacity in which you are signing and, at the Plan
                    Debtors’ discretion, you may be required to submit satisfactory evidence of your authority to so
                    act (e.g., a power of attorney or a certified copy of board resolutions authorizing you to so act);
                    and

               5.   return your Ballot as noted above.




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           No person has been authorized to give any information or advice, or to make any representation,
 other than what is contained in the Disclosure Statement for Debtors’ Joint Plan of Reorganization Under Chapter 11
                                                of the Bankruptcy Code.
                        SEARS METHODIST RETIREMENT SYSTEM, INC.

                            BALLOT FOR ACCEPTING OR REJECTING THE
                          PLAN DEBTORS’ JOINT PLAN OF REORGANIZATION
                        PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

                              THIS BALLOT IS EXCLUSIVELY FOR THE USE BY
                             HOLDERS OF CLASS 4 – OTHER SECURED CLAIMS

          This ballot (“Ballot”) is being sent to holders of Other Secured Claims (the “Holders”), for use in voting to
 accept or reject the Plan Debtors’ Joint Plan of Reorganization Pursuant to Chapter 11 of the Bankruptcy Code,
 dated December 6, 2014 (as it may be amended, modified, or supplemented from time to time, the “Plan”) and in
 connection with the Disclosure Statement for the Plan, dated December 6, 2014 (as it may be amended, modified, or
 supplemented from time to time, the “Disclosure Statement”), copies of which accompany this Ballot. All
 capitalized terms not defined herein shall have the meanings given to them in the Plan.

           Your rights are described in the Disclosure Statement, which was included in the solicitation package you
 are receiving with this Ballot. This Ballot may not be used for any purpose other than casting votes to accept or
 reject the Plan. The Bankruptcy Court can confirm the Plan and bind you, whether or not you vote, if it is accepted
 by the holders of two-thirds in dollar amount of Claims and Interests, and in the case of a Class of Claims, more than
 one-half in number of Claims, that vote on the Plan in each voting class, and if it otherwise satisfies the
 requirements of section 1129 of the Bankruptcy Code. If the requisite acceptances are not obtained, the Bankruptcy
 Court nonetheless may confirm the Plan if it finds that the Plan (i) provides fair and equitable treatment to, and does
 not unfairly discriminate against, each Class rejecting the Plan and (ii) otherwise satisfies the requirements of
 section 1129(b) of the Bankruptcy Code. If the Plan is confirmed by the Bankruptcy Court, it will be binding on you
 whether or not you vote to accept or reject the Plan.

          If you have any questions regarding this Ballot or the procedures to vote with respect to the Plan, please
 contact the voting agent, GCG, Inc. (the “Voting Agent”) at (844) 322-8219.

                                                    IMPORTANT
 You should review the Disclosure Statement and Plan before voting. You may wish to seek legal advice concerning
 the Plan and the classification and treatment of your claim or other claims under the Plan. Other Secured Claims
 have been placed in Class 4 under the Plan.
 VOTING DEADLINE:           5:00 p.m. (prevailing Central Time) on _________________.

 If a properly completed, originally signed Ballot is not received by the Voting Agent, on or before the Voting
 Deadline and such Voting Deadline is not extended, the vote will not count as an acceptance or rejection of the Plan.
 Please return your Ballot to:

                                                 If by first class mail:
                                               SMR Case Administration
                                                     c/o GCG, Inc.
                                                   P.O. BOX 10078
                                                Dublin, OH 43017-6678

                                         If by hand delivery or overnight mail:
                                               SMR Case Administration
                                                     c/o GCG, Inc.
                                             5151 Blazer Parkway, Suite A
                                                Dublin, OH 43017-6678


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 If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether or not you vote on the Plan.

 Copies of the Plan and Disclosure Statement are also on file with the Clerk of the Bankruptcy Court for the Northern
 District of Texas, and may be reviewed during the regular hours of the Bankruptcy Court or online through the
 Bankruptcy Court’s internet website at http://www.txnb.uscourts.gov.

 A person signing a Ballot in capacity as a trustee, executor, administrator, guardian, attorney in fact, officer of a
 corporation, or otherwise acting in a fiduciary or representative capacity should indicate such capacity when signing
 and, if requested, must submit proper evidence to the requesting party of authorization to sign.


 Item 1. Amount of Other Secured Claims

 The undersigned hereby certifies that the undersigned is the holder (or authorized signatory for the holder) of Other
 Secured Claims in the following aggregate amount:

 Amount of Claim(s): $_____________________


 Item 2.    Accepting or Rejecting the Plan Debtors’ Joint Plan of Reorganization Pursuant to Chapter 11 of the
            Bankruptcy Code

 The undersigned acknowledge(s) receipt of the Plan. Please note that the Plan contemplates separate classes of
 creditors for voting and distribution purposes. You may not split your vote. You must vote the entire claim that you
 hold to accept or to reject the Plan.

 A vote to accept the Plan constitutes your consent to the releases, injunctions, and exculpation provisions specified
 in the Plan.

 Any claim represented by this Ballot that (a) does not indicate either an acceptance or a rejection of the Plan,
 (b) indicates both an acceptance and a rejection of the Plan or (c) is incomplete, illegible or does not contain an
 original signature, will not be included in any calculation of votes with respect to the Plan.

 Holders may modify votes to accept or reject the Plan at any time prior to the Voting Deadline of ______________
 at 5:00 p.m. (prevailing Central Time).

 The undersigned:        ☐ ACCEPTS (votes FOR) the Plan.
                         ☐ REJECTS (votes AGAINST) the Plan.
 Item 3. Certification

 By returning this Ballot, the undersigned certifies that it is either (i) the holder (or is the authorized signatory and has
 full power and authority to vote for the holder) of the Other Secured Claims described in Item 1 above to which this
 Ballot pertains and (ii) has been provided with a copy of the Plan and Disclosure Statement and acknowledges that
 the vote set forth on this Ballot is subject to all the terms and conditions set forth in the Plan and Disclosure
 Statement.




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 Name of Holder: ________________________________________________________________

                                                (Print or Type)
 Social Security or Federal Tax I.D. No.: _____________________________________________
 Signature: _____________________________________________________________________
 Print Name: ____________________________________________________________________
 Title (if corporation, partnership or LLC): ____________________________________________
 Street Address: _________________________________________________________________
 City, State, Zip Code: ____________________________________________________________
 Telephone Number: _____________________________________________________________
 Email Address (Optional): ________________________________________________________
 Date Completed: _______________________________________________________________




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 IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE PROCEDURES TO VOTE WITH
 RESPECT TO THE PLAN OR YOU WOULD LIKE ADDITIONAL COPIES OF THE DISCLOSURE
 STATEMENT, PLEASE CALL THE VOTING AGENT, GCG, INC. (844) 322-8219.

                                                 VOTING DEADLINE

 This Ballot must be received by the Voting Agent at:

 If by regular mail:                                            If by messenger or overnight delivery:

 SMR Case Administration                                        SMR Case Administration
 c/o GCG, Inc.                                                  c/o GCG, Inc.
 P.O. Box 10078,                                                5151 Blazer Parkway, Suite A
 Dublin, OH 43017-6678                                          Dublin, Ohio 43017



 by the Voting Deadline, _____________ at 5:00 P.M. (prevailing Central Time), or the votes contained herein will
 not be counted.

 Ballots will not be accepted by facsimile or other electronic delivery.

 For any questions contact the Voting Agent at (844) 322-8219.


          To properly complete this Ballot, you must follow the procedures described below:

               1.   check one box in Item 2 to vote to accept or reject the Plan;

               2.   review the certifications and acknowledgments in Item 3;

               3.   sign and date this Ballot;

               4.   if you are completing and/or signing this Ballot on behalf of another person or entity, indicate your
                    relationship with such person or entity and the capacity in which you are signing and, at the Plan
                    Debtors’ discretion, you may be required to submit satisfactory evidence of your authority to so
                    act (e.g., a power of attorney or a certified copy of board resolutions authorizing you to so act);
                    and

               5.   return your Ballot as noted above.




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           No person has been authorized to give any information or advice, or to make any representation,
 other than what is contained in the Disclosure Statement for Debtors’ Joint Plan of Reorganization Under Chapter 11
                                                of the Bankruptcy Code.
                        SEARS CAPROCK RETIREMENT CORPORATION

                            BALLOT FOR ACCEPTING OR REJECTING THE
                          PLAN DEBTORS’ JOINT PLAN OF REORGANIZATION
                        PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

                           THIS BALLOT IS EXCLUSIVELY FOR THE USE BY
                       HOLDERS OF CLASS 3 – CAPROCK SECURED LOAN CLAIMS

          This ballot (“Ballot”) is being sent to holders of Caprock Secured Loan Claims (the “Holders”), for use in
 voting to accept or reject the Plan Debtors’ Joint Plan of Reorganization Pursuant to Chapter 11 of the Bankruptcy
 Code, dated December 6, 2014 (as it may be amended, modified, or supplemented from time to time, the “Plan”)
 and in connection with the Disclosure Statement for the Plan, dated December 6, 2014 (as it may be amended,
 modified, or supplemented from time to time, the “Disclosure Statement”), copies of which accompany this Ballot.
 All capitalized terms not defined herein shall have the meanings given to them in the Plan.

           Your rights are described in the Disclosure Statement, which was included in the solicitation package you
 are receiving with this Ballot. This Ballot may not be used for any purpose other than casting votes to accept or
 reject the Plan. The Bankruptcy Court can confirm the Plan and bind you, whether or not you vote, if it is accepted
 by the holders of two-thirds in dollar amount of Claims and Interests, and in the case of a Class of Claims, more than
 one-half in number of Claims, that vote on the Plan in each voting class, and if it otherwise satisfies the
 requirements of section 1129 of the Bankruptcy Code. If the requisite acceptances are not obtained, the Bankruptcy
 Court nonetheless may confirm the Plan if it finds that the Plan (i) provides fair and equitable treatment to, and does
 not unfairly discriminate against, each Class rejecting the Plan and (ii) otherwise satisfies the requirements of
 section 1129(b) of the Bankruptcy Code. If the Plan is confirmed by the Bankruptcy Court, it will be binding on you
 whether or not you vote to accept or reject the Plan.

          If you have any questions regarding this Ballot or the procedures to vote with respect to the Plan, please
 contact the voting agent, GCG, Inc. (the “Voting Agent”) at (844) 322-8219.

                                                    IMPORTANT
 You should review the Disclosure Statement and Plan before voting. You may wish to seek legal advice concerning
 the Plan and the classification and treatment of your claim or other claims under the Plan. Caprock Secured Loan
 Claims have been placed in Class 3 under the Plan.
 VOTING DEADLINE:           5:00 p.m. (prevailing Central Time) on _________________.

 If a properly completed, originally signed Ballot is not received by the Voting Agent, on or before the Voting
 Deadline and such Voting Deadline is not extended, the vote will not count as an acceptance or rejection of the Plan.
 Please return your Ballot to:

                                                 If by first class mail:
                                               SMR Case Administration
                                                     c/o GCG, Inc.
                                                   P.O. BOX 10078
                                                Dublin, OH 43017-6678

                                         If by hand delivery or overnight mail:
                                               SMR Case Administration
                                                     c/o GCG, Inc.
                                             5151 Blazer Parkway, Suite A
                                                Dublin, OH 43017-6678


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 If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether or not you vote on the Plan.

 Copies of the Plan and Disclosure Statement are also on file with the Clerk of the Bankruptcy Court for the Northern
 District of Texas, and may be reviewed during the regular hours of the Bankruptcy Court or online through the
 Bankruptcy Court’s internet website at http://www.txnb.uscourts.gov.

 A person signing a Ballot in capacity as a trustee, executor, administrator, guardian, attorney in fact, officer of a
 corporation, or otherwise acting in a fiduciary or representative capacity should indicate such capacity when signing
 and, if requested, must submit proper evidence to the requesting party of authorization to sign.


 Item 1. Amount of Caprock Secured Loan Claims

 The undersigned hereby certifies that the undersigned is the holder (or authorized signatory for the holder) of
 Caprock Secured Loan Claims in the following aggregate amount:

 Amount of Claim(s): $_____________________


 Item 2.    Accepting or Rejecting the Plan Debtors’ Joint Plan of Reorganization Pursuant to Chapter 11 of the
            Bankruptcy Code

 The undersigned acknowledge(s) receipt of the Plan. Please note that the Plan contemplates separate classes of
 creditors for voting and distribution purposes. You may not split your vote. You must vote the entire claim that you
 hold to accept or to reject the Plan.

 A vote to accept the Plan constitutes your consent to the releases, injunctions, and exculpation provisions specified
 in the Plan.

 Any claim represented by this Ballot that (a) does not indicate either an acceptance or a rejection of the Plan,
 (b) indicates both an acceptance and a rejection of the Plan or (c) is incomplete, illegible or does not contain an
 original signature, will not be included in any calculation of votes with respect to the Plan.

 Holders may modify votes to accept or reject the Plan at any time prior to the Voting Deadline of ______________
 at 5:00 p.m. (prevailing Central Time).

 The undersigned:        ☐ ACCEPTS (votes FOR) the Plan.
                         ☐ REJECTS (votes AGAINST) the Plan.
 Item 3. Certification

 By returning this Ballot, the undersigned certifies that it is either (i) the holder (or is the authorized signatory and has
 full power and authority to vote for the holder) of the Caprock Secured Loan Claims described in Item 1 above to
 which this Ballot pertains and (ii) has been provided with a copy of the Plan and Disclosure Statement and
 acknowledges that the vote set forth on this Ballot is subject to all the terms and conditions set forth in the Plan and
 Disclosure Statement.




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 Name of Holder: ________________________________________________________________

                                                (Print or Type)
 Social Security or Federal Tax I.D. No.: _____________________________________________
 Signature: _____________________________________________________________________
 Print Name: ____________________________________________________________________
 Title (if corporation, partnership or LLC): ____________________________________________
 Street Address: _________________________________________________________________
 City, State, Zip Code: ____________________________________________________________
 Telephone Number: _____________________________________________________________
 Email Address (Optional): ________________________________________________________
 Date Completed: _______________________________________________________________




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 IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE PROCEDURES TO VOTE WITH
 RESPECT TO THE PLAN OR YOU WOULD LIKE ADDITIONAL COPIES OF THE DISCLOSURE
 STATEMENT, PLEASE CALL THE VOTING AGENT, GCG, INC. (844) 322-8219.

                                                 VOTING DEADLINE

 This Ballot must be received by the Voting Agent at:

 If by regular mail:                                            If by messenger or overnight delivery:

 SMR Case Administration                                        SMR Case Administration
 c/o GCG, Inc.                                                  c/o GCG, Inc.
 P.O. Box 10078,                                                5151 Blazer Parkway, Suite A
 Dublin, OH 43017-6678                                          Dublin, Ohio 43017



 by the Voting Deadline, _____________ at 5:00 P.M. (prevailing Central Time), or the votes contained herein will
 not be counted.

 Ballots will not be accepted by facsimile or other electronic delivery.

 For any questions contact the Voting Agent at (844) 322-8219.


          To properly complete this Ballot, you must follow the procedures described below:

               1.   check one box in Item 2 to vote to accept or reject the Plan;

               2.   review the certifications and acknowledgments in Item 3;

               3.   sign and date this Ballot;

               4.   if you are completing and/or signing this Ballot on behalf of another person or entity, indicate your
                    relationship with such person or entity and the capacity in which you are signing and, at the Plan
                    Debtors’ discretion, you may be required to submit satisfactory evidence of your authority to so
                    act (e.g., a power of attorney or a certified copy of board resolutions authorizing you to so act);
                    and

               5.   return your Ballot as noted above




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           No person has been authorized to give any information or advice, or to make any representation,
 other than what is contained in the Disclosure Statement for Debtors’ Joint Plan of Reorganization Under Chapter 11
                                                of the Bankruptcy Code.
                          SEARS PLAINS RETIREMENT CORPORATION

                            BALLOT FOR ACCEPTING OR REJECTING THE
                          PLAN DEBTORS’ JOINT PLAN OF REORGANIZATION
                        PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

                            THIS BALLOT IS EXCLUSIVELY FOR THE USE BY
                         HOLDERS OF CLASS 3 – PLAINS SECURED LOAN CLAIMS

          This ballot (“Ballot”) is being sent to holders of Plains Secured Loan Claims (the “Holders”), for use in
 voting to accept or reject the Plan Debtors’ Joint Plan of Reorganization Pursuant to Chapter 11 of the Bankruptcy
 Code, dated December 6, 2014 (as it may be amended, modified, or supplemented from time to time, the “Plan”)
 and in connection with the Disclosure Statement for the Plan, dated December 6, 2014 (as it may be amended,
 modified, or supplemented from time to time, the “Disclosure Statement”), copies of which accompany this Ballot.
 All capitalized terms not defined herein shall have the meanings given to them in the Plan.

           Your rights are described in the Disclosure Statement, which was included in the solicitation package you
 are receiving with this Ballot. This Ballot may not be used for any purpose other than casting votes to accept or
 reject the Plan. The Bankruptcy Court can confirm the Plan and bind you, whether or not you vote, if it is accepted
 by the holders of two-thirds in dollar amount of Claims and Interests, and in the case of a Class of Claims, more than
 one-half in number of Claims, that vote on the Plan in each voting class, and if it otherwise satisfies the
 requirements of section 1129 of the Bankruptcy Code. If the requisite acceptances are not obtained, the Bankruptcy
 Court nonetheless may confirm the Plan if it finds that the Plan (i) provides fair and equitable treatment to, and does
 not unfairly discriminate against, each Class rejecting the Plan and (ii) otherwise satisfies the requirements of
 section 1129(b) of the Bankruptcy Code. If the Plan is confirmed by the Bankruptcy Court, it will be binding on you
 whether or not you vote to accept or reject the Plan.

          If you have any questions regarding this Ballot or the procedures to vote with respect to the Plan, please
 contact the voting agent, GCG, Inc. (the “Voting Agent”) at (844) 322-8219.

                                                    IMPORTANT
 You should review the Disclosure Statement and Plan before voting. You may wish to seek legal advice concerning
 the Plan and the classification and treatment of your claim or other claims under the Plan. Plains Secured Loan
 Claims have been placed in Class 3 under the Plan.
 VOTING DEADLINE:           5:00 p.m. (prevailing Central Time) on _________________.

 If a properly completed, originally signed Ballot is not received by the Voting Agent, on or before the Voting
 Deadline and such Voting Deadline is not extended, the vote will not count as an acceptance or rejection of the Plan.
 Please return your Ballot to:

                                                 If by first class mail:
                                               SMR Case Administration
                                                     c/o GCG, Inc.
                                                   P.O. BOX 10078
                                                Dublin, OH 43017-6678

                                         If by hand delivery or overnight mail:
                                               SMR Case Administration
                                                     c/o GCG, Inc.
                                             5151 Blazer Parkway, Suite A
                                                Dublin, OH 43017-6678


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 If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether or not you vote on the Plan.

 Copies of the Plan and Disclosure Statement are also on file with the Clerk of the Bankruptcy Court for the Northern
 District of Texas, and may be reviewed during the regular hours of the Bankruptcy Court or online through the
 Bankruptcy Court’s internet website at http://www.txnb.uscourts.gov.

 A person signing a Ballot in capacity as a trustee, executor, administrator, guardian, attorney in fact, officer of a
 corporation, or otherwise acting in a fiduciary or representative capacity should indicate such capacity when signing
 and, if requested, must submit proper evidence to the requesting party of authorization to sign.


 Item 1. Amount of Plains Secured Loan Claims

 The undersigned hereby certifies that the undersigned is the holder (or authorized signatory for the holder) of Plains
 Secured Loan Claims in the following aggregate amount:

 Amount of Claim(s): $_____________________


 Item 2.    Accepting or Rejecting the Plan Debtors’ Joint Plan of Reorganization Pursuant to Chapter 11 of the
            Bankruptcy Code

 The undersigned acknowledge(s) receipt of the Plan. Please note that the Plan contemplates separate classes of
 creditors for voting and distribution purposes. You may not split your vote. You must vote the entire claim that you
 hold to accept or to reject the Plan.

 A vote to accept the Plan constitutes your consent to the releases, injunctions, and exculpation provisions specified
 in the Plan.

 Any claim represented by this Ballot that (a) does not indicate either an acceptance or a rejection of the Plan,
 (b) indicates both an acceptance and a rejection of the Plan or (c) is incomplete, illegible or does not contain an
 original signature, will not be included in any calculation of votes with respect to the Plan.

 Holders may modify votes to accept or reject the Plan at any time prior to the Voting Deadline of ______________
 at 5:00 p.m. (prevailing Central Time).

 The undersigned:        ☐ ACCEPTS (votes FOR) the Plan.
                         ☐ REJECTS (votes AGAINST) the Plan.
 Item 3. Certification

 By returning this Ballot, the undersigned certifies that it is either (i) the holder (or is the authorized signatory and has
 full power and authority to vote for the holder) of the Plains Secured Loan Claims described in Item 1 above to
 which this Ballot pertains and (ii) has been provided with a copy of the Plan and Disclosure Statement and
 acknowledges that the vote set forth on this Ballot is subject to all the terms and conditions set forth in the Plan and
 Disclosure Statement.




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 Name of Holder: ________________________________________________________________

                                                (Print or Type)
 Social Security or Federal Tax I.D. No.: _____________________________________________
 Signature: _____________________________________________________________________
 Print Name: ____________________________________________________________________
 Title (if corporation, partnership or LLC): ____________________________________________
 Street Address: _________________________________________________________________
 City, State, Zip Code: ____________________________________________________________
 Telephone Number: _____________________________________________________________
 Email Address (Optional): ________________________________________________________
 Date Completed: _______________________________________________________________




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 IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE PROCEDURES TO VOTE WITH
 RESPECT TO THE PLAN OR YOU WOULD LIKE ADDITIONAL COPIES OF THE DISCLOSURE
 STATEMENT, PLEASE CALL THE VOTING AGENT, GCG, INC. (844) 322-8219.

                                                 VOTING DEADLINE

 This Ballot must be received by the Voting Agent at:

 If by regular mail:                                            If by messenger or overnight delivery:

 SMR Case Administration                                        SMR Case Administration
 c/o GCG, Inc.                                                  c/o GCG, Inc.
 P.O. Box 10078,                                                5151 Blazer Parkway, Suite A
 Dublin, OH 43017-6678                                          Dublin, Ohio 43017



 by the Voting Deadline, _____________ at 5:00 P.M. (prevailing Central Time), or the votes contained herein will
 not be counted.

 Ballots will not be accepted by facsimile or other electronic delivery.

 For any questions contact the Voting Agent at (844) 322-8219.


          To properly complete this Ballot, you must follow the procedures described below:

               1.   check one box in Item 2 to vote to accept or reject the Plan;

               2.   review the certifications and acknowledgments in Item 3;

               3.   sign and date this Ballot;

               4.   if you are completing and/or signing this Ballot on behalf of another person or entity, indicate your
                    relationship with such person or entity and the capacity in which you are signing and, at the Plan
                    Debtors’ discretion, you may be required to submit satisfactory evidence of your authority to so
                    act (e.g., a power of attorney or a certified copy of board resolutions authorizing you to so act);
                    and

               5.   return your Ballot as noted above.




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                                     EXHIBIT 3

                             Confirmation Hearing Notice




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 Vincent P. Slusher, State Bar No. 00785480                    Thomas R. Califano (admitted pro hac vice)
 vincent.slusher@dlapiper.com                                  thomas.califano@dlapiper.com
 Andrew Zollinger, State Bar No. 24063944                      DLA Piper LLP (US)
 andrew.zollinger@dlapiper.com                                 1251 Avenue of the Americas
 DLA Piper LLP (US)                                            New York, New York 10020-1104
 1717 Main Street, Suite 4600                                  Tel: (212) 335-4500
 Dallas, Texas 75201-4629                                      Fax: (212) 335-4501
 Tel: (214) 743-4500
 Fax: (214) 743-4545

 ATTORNEYS FOR THE DEBTORS
 AND DEBTORS IN POSSESSION


                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

 In re:                                                    §          CASE NO. 14-32821-11
                                                           §
 SEARS METHODIST RETIREMENT                                §          CHAPTER 11
 SYSTEM, INC., et al.1                                     §
                                                           §          Jointly Administered
                            Debtors.                       §

                         NOTICE OF CONFIRMATION HEARING AND
                       DEADLINE FOR OBJECTING TO CONFIRMATION

        PLEASE TAKE NOTICE that on December 6, 2014, Sears Methodist Retirement
 System, Inc., Sears Caprock Retirement Corporation, Sears Methodist Centers, Inc., Sears
 Methodist Foundation, Sears Panhandle Retirement Corporation, Sears Permian Retirement
 Corporation, Sears Plains Retirement Corporation, Sears Tyler Methodist Retirement
 Corporation, and Senior Dimensions, Inc. (collectively, the “Plan Debtors” and, together with the
 remaining debtors and debtors in possession in the above-captioned cases, the “Debtors”) filed
 the Disclosure Statement (as amended, modified, or supplemented from time to time, the
 “Disclosure Statement”) and the Plan Debtors’ Joint Plan of Reorganization Pursuant to
 Chapter 11 of the Bankruptcy Code (as amended, modified, or supplemented from time to time,
 the “Plan”). On _________________, the Honorable Stacey G. C. Jernigan, United States
 Bankruptcy Judge for the Northern District of Texas, Courtroom 1, United States Bankruptcy
 Court, Earle Cabell Federal Building, 1100 Commerce Street, Fourteenth Floor, Dallas, TX
 75254-1496 (the “Bankruptcy Court”) entered an order (the “Solicitation Procedures Order”),

 1
     The debtors in these chapter 11 cases, along with the last four (4) digits of their taxpayer identification numbers,
     are: Sears Methodist Retirement System, Inc. (6330), Canyons Senior Living, L.P. (8545), Odessa Methodist
     Housing, Inc. (9569), Sears Brazos Retirement Corporation (8053), Sears Caprock Retirement Corporation
     (9581), Sears Methodist Centers, Inc. (4917), Sears Methodist Foundation (2545), Sears Panhandle Retirement
     Corporation (3233), Sears Permian Retirement Corporation (7608), Sears Plains Retirement Corporation (8233),
     Sears Tyler Methodist Retirement Corporation (0571) and Senior Dimensions, Inc. (4016). The mailing address
     of each of the debtors, solely for purposes of notices and communications, is 2100 Ross Avenue, 21st Floor, c/o
     Paul Rundell, Dallas, Texas 75201.


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 among other things, (i) approving the Disclosure Statement, (ii) approving certain related notice
 procedures and other procedures for the solicitation and tabulation of votes to accept or reject the
 Plan, and (iii) scheduling a hearing for confirmation of the Plan.

                      HEARING ON CONFIRMATION OF THE PLAN

         The hearing to confirm the Plan (“Confirmation Hearing”) will commence on
 [_________________] at [ ].m. (prevailing Central Time), or as soon thereafter as counsel can
 be heard, before the Honorable Stacey G. C. Jernigan, United States Bankruptcy Judge for the
 Northern District of Texas, Courtroom 1, United States Bankruptcy Court, Earle Cabell Federal
 Building, 1100 Commerce Street, Fourteenth Floor, Dallas, TX 75254-1496. The Confirmation
 Hearing may be continued from time to time by the announcement of such continuance in open
 court or otherwise, all without further notice to parties in interest, and the Plan may be modified
 pursuant to 11 U.S.C. § 1127 prior to, during or as a result of the Confirmation Hearing, without
 further notice to parties in interest.

                    VOTING DEADLINE AND VOTING INFORMATION

        The Bankruptcy Court has fixed [____________________] at 5:00 p.m. (prevailing
 Central Time) as the deadline by which ballots accepting or rejecting the Plan must be received
 by the Debtors’ Voting Agent. In order to be counted as a vote to accept or reject the Plan, each
 ballot must be properly executed, contain an original signature, completed and delivered to the
 Debtors’ Voting Agent (i) by first-class mail, in the return envelope provided with each ballot to
 SMR Case Administration, c/o GCG, Inc., P.O. Box 10078, Dublin, OH 43017-6678, or (ii) by
 messenger or overnight delivery to SMR Case Administration, c/o GCG, Inc., 5151 Blazer
 Parkway, Suite A, Dublin, Ohio 43017, in each instance so that it is actually received no later
 than 5:00 p.m. (prevailing Central Time) on [___________________].

                                            RELEASES

        Section 11 of the Plan contains the following release, exculpation, and injunction
 language:

         Debtor Releases. PURSUANT TO SECTION 1123(b) OF THE BANKRUPTCY
 CODE AND EXCEPT AS OTHERWISE SPECIFICALLY PROVIDED IN THIS PLAN
 OR THE PLAN SUPPLEMENT, FOR GOOD AND VALUABLE CONSIDERATION,
 INCLUDING THE SERVICE OF THE RELEASED PARTIES TO FACILITATE THE
 EXPEDITIOUS LIQUIDATION OF THE PLAN DEBTORS AND THE
 CONSUMMATION OF THE TRANSACTIONS CONTEMPLATED BY THIS PLAN, ON
 AND AFTER THE EFFECTIVE DATE, THE RELEASED PARTIES ARE DEEMED
 RELEASED AND DISCHARGED BY THE PLAN DEBTORS AND THEIR ESTATES
 FROM ANY AND ALL CLAIMS, OBLIGATIONS, RIGHTS, SUITS, DAMAGES,
 CAUSES OF ACTION, REMEDIES AND LIABILITIES WHATSOEVER, INCLUDING
 ANY DERIVATIVE CLAIMS ASSERTED OR ASSERTABLE ON BEHALF OF THE
 PLAN DEBTORS, WHETHER KNOWN OR UNKNOWN, FORESEEN OR
 UNFORESEEN, EXISTING OR HEREINAFTER ARISING, IN LAW, EQUITY OR
 OTHERWISE, THAT THE PLAN DEBTORS OR THEIR ESTATES WOULD HAVE


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 BEEN LEGALLY ENTITLED TO ASSERT IN THEIR OWN RIGHT (WHETHER
 INDIVIDUALLY OR COLLECTIVELY) OR ON BEHALF OF THE HOLDER OF ANY
 CLAIM OR INTEREST OR OTHER PERSON, BASED ON OR RELATING TO, OR IN
 ANY MANNER ARISING FROM, IN WHOLE OR IN PART, THE PLAN DEBTORS,
 THE PLAN DEBTORS’ CHAPTER 11 CASES, THE SALES OR THE TRANSACTIONS
 OR EVENTS GIVING RISE TO ANY CLAIM OR INTEREST THAT IS TREATED IN
 THIS PLAN, THE BUSINESS OR CONTRACTUAL ARRANGEMENTS BETWEEN
 ANY PLAN DEBTOR AND ANY RELEASED PARTY, THE RESTRUCTURING OF
 CLAIMS AND INTERESTS BEFORE OR DURING THE PLAN DEBTORS’ CHAPTER
 11 CASES, THE NEGOTIATION, FORMULATION OR PREPARATION OF THIS
 PLAN, THE DISCLOSURE STATEMENT, ANY PLAN SUPPLEMENT OR RELATED
 AGREEMENTS, INSTRUMENTS OR OTHER DOCUMENTS (COLLECTIVELY, THE
 “PLAN DEBTOR RELEASED CLAIMS”), OTHER THAN PLAN DEBTOR RELEASED
 CLAIMS AGAINST A RELEASED PARTY ARISING OUT GROSS NEGLIGENCE,
 WILLFUL MISCONDUCT, INTENTIONAL FRAUD, OR CRIMINAL LIABILITY OF
 ANY SUCH PERSON OR ENTITY.

      Releases by Holders of Claims. ON THE EFFECTIVE DATE, EXCEPT AS
 OTHERWISE PROVIDED HEREIN AND EXCEPT FOR THE RIGHT TO ENFORCE
 THIS PLAN, ALL PERSONS WHO HAVE (I) VOTED TO ACCEPT THIS PLAN OR
 WHO ARE PRESUMED TO HAVE VOTED TO ACCEPT THIS PLAN UNDER
 SECTION 1126(f) OF THE BANKRUPTCY CODE, (II) ARE ENTITLED TO VOTE TO
 ACCEPT OR REJECT THIS PLAN AND WHO VOTE TO REJECT THIS PLAN OR
 ABSTAIN FROM VOTING, AND (III) DO NOT MARK THEIR BALLOTS AS OPTING
 OUT OF THE RELEASES GRANTED UNDER THIS SECTION, SHALL, TO THE
 FULLEST EXTENT PERMITTED BY APPLICABLE LAW, BE DEEMED TO
 FOREVER RELEASE, WAIVE AND DISCHARGE THE RELEASED PARTIES AND
 EACH OF THEIR RESPECTIVE CONSTITUENTS, PRINCIPALS, OFFICERS,
 DIRECTORS, EMPLOYEES, AGENTS, REPRESENTATIVES, ATTORNEYS,
 PROFESSIONALS,       ADVISORS,      AFFILIATES, FUNDS,   SUCCESSORS,
 PREDECESSORS, AND ASSIGNS, OF AND FROM ALL LIENS, CLAIMS, CAUSES OF
 ACTION, LIABILITIES, ENCUMBRANCES, SECURITY INTERESTS, INTERESTS
 OR CHARGES OF ANY NATURE OR DESCRIPTION WHATSOEVER RELATING TO
 THE PLAN DEBTORS, THE CHAPTER 11 CASES OR AFFECTING PROPERTY OF
 THE ESTATES, WHETHER KNOWN OR UNKNOWN, SUSPECTED OR
 UNSUSPECTED, SCHEDULED OR UNSCHEDULED, CONTINGENT OR NOT
 CONTINGENT, UNLIQUIDATED OR FIXED, ADMITTED OR DISPUTED,
 MATURED OR UNMATURED, SENIOR OR SUBORDINATED, WHETHER
 ASSERTABLE DIRECTLY OR DERIVATIVELY BY, THROUGH, OR RELATED TO
 THE PLAN DEBTORS, AGAINST SUCCESSORS OR ASSIGNS OF THE PLAN
 DEBTORS AND THE INDIVIDUALS AND ENTITIES LISTED ABOVE WHETHER AT
 LAW, IN EQUITY OR OTHERWISE, BASED UPON ANY CONDITION, EVENT, ACT,
 OMISSION OCCURRENCE, TRANSACTION OR OTHER ACTIVITY, INACTIVITY,
 INSTRUMENT OR OTHER AGREEMENT OF ANY KIND OR NATURE
 OCCURRING, ARISING OR EXISTING PRIOR TO THE EFFECTIVE DATE IN ANY
 WAY RELATING TO OR ARISING OUT OF, IN WHOLE OR IN PART, THE PLAN
 DEBTORS, THE CHAPTER 11 CASES, THE PURSUIT OF CONFIRMATION OF THIS


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 PLAN, THE NEGOTIATION AND CONSUMMATION OF THE SALES, THE
 CONSUMMATION OF THIS PLAN OR THE ADMINISTRATION OF THIS PLAN,
 INCLUDING WITHOUT LIMITATION, THE NEGOTIATION AND SOLICITATION
 OF THIS PLAN, ALL REGARDLESS OF WHETHER (A) A PROOF OF CLAIM OR
 EQUITY INTEREST HAS BEEN FILED OR IS DEEMED TO HAVE BEEN FILED, (B)
 SUCH CLAIM OR EQUITY INTEREST IS ALLOWED OR (C) THE HOLDER OF
 SUCH CLAIM OR EQUITY INTEREST HAS VOTED TO ACCEPT OR REJECT THIS
 PLAN, EXCEPT FOR WILLFUL MISCONDUCT OR GROSS NEGLIGENCE. FOR
 THE AVOIDANCE OF DOUBT, NOTHING CONTAINED HEREIN SHALL IMPACT
 THE RIGHT OF ANY HOLDER OF AN ALLOWED CLAIM TO RECEIVE A
 DISTRIBUTION ON ACCOUNT OF ITS ALLOWED CLAIM IN ACCORDANCE
 WITH SECTION 4 HEREOF.

      Exculpation. NONE OF THE RELEASED PARTIES, NOR ANY OF THEIR
 RESPECTIVE MEMBERS, OFFICERS, DIRECTORS, EMPLOYEES, ADVISORS,
 PROFESSIONALS, ATTORNEYS OR AGENTS OR ANY OF THEIR SUCCESSORS
 AND ASSIGNS, SHALL HAVE OR INCUR ANY LIABILITY TO ANY HOLDER OF A
 CLAIM OR INTEREST, OR OTHER PARTY IN INTEREST, OR ANY OF THEIR
 RESPECTIVE MEMBERS, OFFICERS, DIRECTORS, EMPLOYEES, ADVISORS,
 PROFESSIONALS, ATTORNEYS OR AGENTS OR ANY OF THEIR SUCCESSORS
 AND ASSIGNS, FOR ANY ACT OR OMISSION IN CONNECTION WITH, RELATED
 TO, OR ARISING OUT OF, IN WHOLE OR IN PART, THE PLAN DEBTORS'
 CHAPTER 11 CASES, THE PURSUIT OF CONFIRMATION OF THIS PLAN, THE
 CONSUMMATION OF THIS PLAN OR THE ADMINISTRATION OF THIS PLAN,
 INCLUDING WITHOUT LIMITATION, THE NEGOTIATION AND SOLICITATION
 OF THIS PLAN AND THE NEGOTIATION AND CONSUMMATION OF THE SALES,
 EXCEPT FOR THEIR WILLFUL MISCONDUCT OR GROSS NEGLIGENCE AS
 DETERMINED BY A FINAL ORDER OF A COURT OF COMPETENT
 JURISDICTION, AND, IN ALL RESPECTS, THE RELEASED PARTIES, AND EACH
 OF THEIR RESPECTIVE MEMBERS, OFFICERS, DIRECTORS, EMPLOYEES,
 ADVISORS, PROFESSIONALS, ATTORNEYS OR AGENTS, SHALL BE ENTITLED
 TO RELY UPON THE ADVICE OF COUNSEL WITH RESPECT TO THEIR DUTIES
 AND RESPONSIBILITIES UNDER THIS PLAN.

     Injunction. FROM AND AFTER THE EFFECTIVE DATE, ALL PERSONS WHO
 HAVE HELD, HOLD OR MAY HOLD CLAIMS AGAINST OR INTEREST IN THE
 PLAN DEBTORS ARE PERMANENTLY ENJOINED FROM COMMENCING OR
 CONTINUING IN ANY MANNER, ANY CAUSE OF ACTION RELEASED OR TO BE
 RELEASED PURSUANT TO THIS PLAN OR THE CONFIRMATION ORDER.

      FROM AND AFTER THE EFFECTIVE DATE, TO THE EXTENT OF THE
 RELEASES AND EXCULPATION GRANTED IN THIS PLAN, THE RELEASING
 PARTIES SHALL BE PERMANENTLY ENJOINED FROM COMMENCING OR
 CONTINUING IN ANY MANNER AGAINST THE RELEASED PARTIES AND THE
 EXCULPATED PARTIES AND THEIR ASSETS AND PROPERTIES, AS THE CASE
 MAY BE, ANY SUIT, ACTION OR OTHER PROCEEDING, ON ACCOUNT OF OR
 RESPECTING ANY CLAIM, DEMAND, LIABILITY, OBLIGATION, DEBT, RIGHT,


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 CAUSE OF ACTION, INTEREST OR REMEDY RELEASED OR TO BE RELEASED
 PURSUANT TO THIS PLAN.

       EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THIS PLAN, THE
 PLAN SUPPLEMENT OR RELATED DOCUMENTS, OR FOR OBLIGATIONS ISSUED
 PURSUANT TO THIS PLAN, ALL PERSONS WHO HAVE HELD, HOLD OR MAY
 HOLD CLAIMS OR INTERESTS THAT HAVE BEEN RELEASED, DISCHARGED, OR
 ARE SUBJECT TO EXCULPATION, ARE PERMANENTLY ENJOINED, FROM AND
 AFTER THE EFFECTIVE DATE, FROM TAKING ANY OF THE FOLLOWING
 ACTIONS: (A) COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION
 OR OTHER PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION
 WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS;
 (B) ENFORCING, ATTACHING, COLLECTING OR RECOVERING BY ANY
 MANNER OR MEANS ANY JUDGMENT, AWARD, DECREE OR ORDER AGAINST
 SUCH PERSONS ON ACCOUNT OF OR IN CONNECTION WITH OR WITH
 RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (C) CREATING, PERFECTING
 OR ENFORCING ANY ENCUMBRANCE OF ANY KIND AGAINST SUCH PERSONS
 OR THE PROPERTY OR ESTATES OF SUCH PERSONS ON ACCOUNT OF OR IN
 CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR
 INTERESTS; AND (D) COMMENCING OR CONTINUING IN ANY MANNER ANY
 ACTION OR OTHER PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN
 CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS
 RELEASED, SETTLED OR DISCHARGED PURSUANT TO THIS PLAN.

      THE RIGHTS AFFORDED IN THIS PLAN AND THE TREATMENT OF ALL
 CLAIMS AND INTERESTS HEREIN SHALL BE IN EXCHANGE FOR AND IN
 COMPLETE SATISFACTION OF ALL CLAIMS AND INTERESTS OF ANY NATURE
 WHATSOEVER, INCLUDING ANY INTEREST ACCRUED ON CLAIMS FROM AND
 AFTER THE PETITION DATE, AGAINST THE PLAN DEBTORS OR ANY OF THEIR
 ASSETS, PROPERTY OR ESTATES. ON THE EFFECTIVE DATE, ALL SUCH
 CLAIMS AGAINST THE PLAN DEBTORS SHALL BE FULLY RELEASED AND
 DISCHARGED, AND THE INTERESTS SHALL BE CANCELLED (EXCEPT AS
 OTHERWISE EXPRESSLY PROVIDED IN THIS PLAN).

      EXCEPT AS OTHERWISE EXPRESSLY PROVIDED FOR IN THIS PLAN OR
 IN OBLIGATIONS ISSUED PURSUANT HERETO FROM AND AFTER THE
 EFFECTIVE DATE, ALL CLAIMS AGAINST THE PLAN DEBTORS SHALL BE
 FULLY RELEASED AND DISCHARGED, AND ALL INTERESTS SHALL BE
 CANCELLED, AND THE PLAN DEBTORS’ LIABILITY WITH RESPECT THERETO
 SHALL BE EXTINGUISHED COMPLETELY, INCLUDING ANY LIABILITY OF THE
 KIND SPECIFIED UNDER SECTION 502(g) OF THE BANKRUPTCY CODE.

      ALL PERSONS SHALL BE PRECLUDED FROM ASSERTING AGAINST THE
 PLAN DEBTORS, THE PLAN DEBTORS’ ESTATES, EACH OF THEIR RESPECTIVE
 SUCCESSORS AND ASSIGNS, AND EACH OF THEIR ASSETS AND PROPERTIES,
 ANY OTHER CLAIMS OR INTERESTS BASED UPON ANY DOCUMENTS,
 INSTRUMENTS OR ANY ACT OR OMISSION, TRANSACTION OR OTHER


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 ACTIVITY OF ANY KIND OR NATURE THAT OCCURRED BEFORE THE
 EFFECTIVE DATE.

                       OBJECTION DEADLINE AND PROCEDURES
                        FOR FILING OBJECTIONS TO THE PLAN

        The Bankruptcy Court has established [_________________] at 5:00 p.m. (prevailing
 Central Time) as the deadline for filing and serving objections to confirmation of the Plan (the
 “Objection Deadline”). Objections not timely filed and served will be overruled by the
 Bankruptcy Court.

         To be considered by the Bankruptcy Court, any objections to the Plan must be (i) be in
 writing; (ii) state the name and address of the responding party and the amount and nature of the
 claim or interest of such party; (iii) state with particularity the legal and factual basis of any
 response; (iv) conform to the Bankruptcy Rules and Local Rules; and (v) be filed with the
 Bankruptcy Court, together with proof of service, electronically, in accordance with the
 Administrative Procedures for the Filing, Signing, and Verifying of Documents by Electronic
 Means (the “Administrative Procedures”) (the Administrative Procedures can be found at the
 Bankruptcy Court’s official website (http://www.txnb.uscourts.gov)), by registered users of the
 Bankruptcy Court’s case filing system and, by all other parties in interest without legal
 representation, in paper form, and served in accordance with the Administrative Procedures and
 the Local Rules, so as to be actually received not later than 5:00 p.m. (prevailing Central Time)
 on [_________________] and, such service shall be completed and actually received by the
 following parties on or prior to the Objection Deadline: (i) DLA Piper LLP (US), 1251 Avenue
 of the Americas, New York, NY 10020, Attn: Thomas R. Califano, and 1717 Main Street, Suite
 4600, Dallas, TX 75201, Attn: Vincent P. Slusher, counsel to the Debtors; (ii) Mintz, Levin,
 Cohn, Ferris, Glovsky and Popeo, P.C., One Financial Center, Boston, MA 02111, Attn: Daniel
 S. Bleck, counsel for Wells Fargo Bank, N.A. as trustee; (iii) McDermott, Will & Emery, LLP,
 227 West Monroe Street, Chicago, IL, 60606, Attn: Nathan F. Coco, counsel to UMB Bank,
 N.A., as trustee; (iv) Duane Morris LLP, 190 South LaSalle Street, Suite 3700, Chicago, IL
 60603, Attn: John Weiss, counsel to Santander Bank, N.A.; (v) McWhorter, Cobb & Johnson,
 LLP, P.O. Box 2547, Lubbock, Texas 79408, Attn: R. Michael McCauley, Jr., counsel to
 Prosperity Bank, N.A.; (vi) Greenberg Traurig, LLP, 2200 Ross Avenue, Suite 5200, Dallas, TX
 75201, Attn: Clifton R. Jessup, Jr., and 77 West Wacker Drive, Suite 3100, Chicago, IL 60601,
 Attn: Nancy A. Peterman, counsel to the Committee; and (vii) the United States Trustee, 1100
 Commerce Street, Room 976, Dallas, TX 75242, Attn: Nancy S. Resnick.

                             INFORMATION AND DOCUMENTS

         Any party in interest wishing to obtain a copy of the Disclosure Statement, the Plan, or
 the Solicitation Procedures Order may request such copies by (i) accessing the Bankruptcy
 Court’s website at http://www.txnb.uscourts.gov; (ii) contacting the Office of the Clerk of the
 Court, Earle Cabell Federal Building, 1100 Commerce St., Rm. 125, Dallas, TX 75242-1496;
 (iii) contacting the Voting Agent, GCG, Inc. (“GCG”) at (844) 322-8219; or (iv) accessing the
 website maintained by GCG, available at http://cases.gcginc.com/smr. Note that a PACER
 password is needed to access documents on the Bankruptcy Court’s website.



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 Dated: ___________________
        Dallas, Texas
                                      DLA PIPER LLP (US)

                                      By: /s/ Vincent P. Slusher
                                      Vincent P. Slusher, State Bar No. 00785480
                                      vincent.slusher@dlapiper.com
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